Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 1 of 94 Page ID #:13




                                EXHIBIT A
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 2 of 94 Page ID #:14




    1   Ramin R. Younessi, Esq. (SBN 175020)
        Samuel Geshgian, Esq.(SBN 300470)
    2   LAW OFFICES OF RA MIN R. YOUNESSI
        A PROFESSIONAL LAW CORPORATION
    3   3435 Wilshire Boulevard, Suite 2200
        Los Angeles, California 90010
    4   Telephone: (213) 480-6200
        Facsimile: (213) 480-62(11
    5
        Attorneys for Plaintiff.
    6   BLANCA ARGEL1A ARIAS
        individually and on behalf of herself
    7   and others similarly situated

    8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                          FOR THE COUNTY OF ANGELES, CENTRAL DISTRICT

   10
        BLANCA ARCELIA ARIAS. individually                    CLASS ACTION
   11   and on behalf of herself and others similarly
        situated,                                             Case No.: BC719073
   12
                                        Plaintiff,            Assigned to the Honorable Judge Kenneth Freeman,
   13                                                         Dept. 14
                  v.
   14                                                         NOTICE OF COURT ORDER RE NEWLY FILED
        RESIDENCE INN BY MARRIOTT, LLC., a                    CLASS ACTION
   15   Delaware limited liability company;
        MARRIOTT INTERNATIONAL, INC., a
   16   Delaware corporation; and DOES I through
        20, inclusive.
   17                                                         Action filed: August 23, 2018
                                        Defelld'all ES,       Trial Date: None set yet.
   18
   19   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

  20              PLEASE TAKE NOTICE that the above-entitled Court has issued a Minute Order along with

  21    an Initial Status Conference Order, attached hereto and incorporated herein by this reference, regarding

   22   the newly filed class action on September 6. 2018. The Court ruled as follows:

  23          1. The case is stayed, except for service of the Summons and Complaint. The stay continues at least
  24              until the Initial Status Conference.

  25          2. An Initial Status Conference is set for December 14, 2018 at 10:00 a.m. in Department 14.

   26         3. Plaintiff is to give notice to all Defendants.

   27   I//

  28    ///




                                  NOTICE OF COURT ORDER RE NEWLY FILED CLASS ACTION
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 3 of 94 Page ID #:15




    1   DATED: September 11--, 2018               LAW OFFICES 0       AMIN R. YOUNESSI
                                                  A PROMS.:            W CO PORATION
    2
    3
    4
                                                                    otiness
    5                                                   Samvel Gesligian, ,sq.
                                                        Attorneys for Ha' itiff,
    6                                                   BLANCA ARGELIA ARIAS
    7
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    9
   to
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                                                  -2-
                           NOTICE OF COURT ORDER RE NEWLY FILED CLASS ACTION
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 4 of 94 Page ID #:16




                                                  PROOF OF SERVICE
   1
                              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   2          I am employed in the County of Los Angeles. State of California. I am over the age of 18 and
       not a party to the within action. My business address is 3435 Wilshire Boulevard. Suite 2200, Los
   3   Angeles, California 90010.
   4       On September 14, 2018, I served the foregoing document described as NOTICE OF COURT
       ORDER RE NEWLY FILED CLASS ACTION on the interested parties in this action as follows:
   5
              •         By placing true copies enclosed in a sealed envelope addressed to each addressee as
   6                    follows:
   7              C T Corporation System                           Agent for Service of Process for Defendants,
   8              818 West 7th Street, Ste. 930                    MARRIOTT INTERNATIONAL, INC. and
                  Los Angeles, CA 90017                            RESIDENCE INN BY MARRIOTT LLC
   9
                  William J. Dritsas, Esq.                         Attorneys, for Defendants, MARRIOTT
  10              SEYFARTH SHAW LLP                                INTERNATIONAL, INC. and RESIDENCE
                  560 Mission Street, 31st Fl.                     INN BY MARRIOTT LLC
  11              San Francisco, CA 94105

  12   [S]    BY MAIL:

  13          ❑         I deposited each envelope in the mail at Los Angeles, California, with postage thereon
                        fully prepaid.
  14
              •         1 am "readily familiar" with the firm's practice for collection and processing
  15                    correspondence for mailing with the U.S. Postal Service. Under that practice, and in the
                        ordinary course of business, correspondence would be deposited with the U.S. Postal
  16                    Service on that same day with postage thereon fully prepaid at our business address in
                        Los Angeles, California. Each of the above envelopes was sealed and placed for
  17                    collection and mailing on that date following ordinary business practices.
  18
       Executed on September 14, 2018, at Los Angeles, California.
  19
              fE        STATE          Ideclare under penalty of perjury under the laws of the State of California
  20                    that the foregoing is true and correct.

  21          ❑         FEDERAL       I declare that I am employed in the office of a member of the bar of this
                        Court at whose direction the service was made.
  22
  23                  Raphael Moreno

  24
  25
  26
  27
  28



                                                            -3-
                                NOTICE OF COURT ORDER RE NEWLY FILED CLASS ACTION
    Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 5 of 94 Page ID #:17



              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   09/06/18                                                                          DEPT. SS14
HONORABLE   KENNETH R. FREEMAN                 JUDGE      R. ARRAIGA, J.A.              DEPUTY CLERK

HONORABLE                             JUDGE PRO TEM                                ELECTRONIC RECORDING MONITOR
ADD-ON #4
        T. LEWIS, C.A.                   Deputy Sheriff   NONE                                 Reporter


             BC719073                                     Plaintiff
                                                          Counsel
            BLANCA ARGELIA ARIAS                                       NO APPEARANCES
            VS                                            Defendant
            RESIDENCE INN BY MARRICTT LLC E               Counsel
             AL
            Complex- 9-6-2018
            NATURE OF PROCEEDINGS:
            COURT ORDER REGARDING NEWLY FILED CLASS ACTION
            By this order, the Court determines this case to
            be Complex according to Rule 3.400 of the California
            Rules of Court. The Clerk's Office has randomly
            assigned this case to this department for all
            purposes.
            By this order, the Court stays the case, except
            for service of the Summons and Complaint. The stay
            continues at least until the Initial Status
            Conference. Initial Status Conference is set for
            December 14, 2018, at 10:00 a.m., in this department.
            At least 10 days prior to the Initial Status
            Conference, counsel for all parties must discuss
            the issues set forth in the Initial Status Conference
            Order issued this date. The Initial Status Conference
            Order is to help the Court and the parties manage this
            complex case by developing an orderly schedule for
            briefing, discovery, and court hearings. The parties
            are informally encouraged to exchange documents and
            information as may be useful for case evaluation.
            Responsive pleadings shall not be filed until further
            Order of the Court. Parties must file a Notice of
            Appearance in lieu of an Answer or other responsive
            pleading. The filing of a Notice of Appearance shall
            not constitute a waiver of any substantive or
            procedural challenge to the Complaint. Nothing in this
            order stays the time for filing an Affidavit of
                                                                                        MINUTES ENTERED
                                     Page      1 of        3          DEPT. SS14        09/06/18
                                                                                        COUNTY CLERIC
    Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 6 of 94 Page ID #:18



                SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE 09/06/18                                                                                DEPT. 5S14
HO NORAMI     KENNETH R. FREEMAN                  JUDO!'     R. ARRAIGA, J.A.              DEPUTY CLERK

I IONORADLE                              RIDGE PRO TEM                                ELECTRONIC RECORDING MONITOR
ADD-ON #4
        T. LEWIS, C.A.                      Deputy Sheriff   NONE                                 Reporter

               BC719073                                      Plaintiff
                                                             Counsel
               BLANCA ARGELIA ARIAS                                       NO APPEARANCES
               VS                                            Defendant
               RESIDENCE INN BY MARRIOTT LLC E               Counsel
                AL
               Complex- 9-6-2018
               NATURE OF PROCEEDINGS:
              Prejudice pursuant to Code of Civil. Procedure Section
              170.6.
              Counsel are directed to access the following link for
              information on procedures in the Complex Litigation
              Program courtrooms:
              http://www.lacourt.org/division/civil/CI0037.aspx
              According to Government Code Section 70616
              subdivisions (a) and (b), each party shall pay a fee
              of $1,000.00 to the Los Angeles Superior Court within
              10 calendar days from this date.
              The Plaintiff must serve a copy of this minute order
              and the attached Initial Status Conference Order
              on all parties forthwith and file a Proof of Service
              in this department within seven days of service.
                          CLERK'S CERTIFICATE OF MAILING

              I, the below-named Executive Officer/Clerk of the
              above-entitled court, do hereby certify that I am
              not a party to the cause herein, and that on this
              date I served this Minute Order and the
              Initial Status Conference Order
              upon each party or counsel named below by placing
              the document for collection and mailing so as to
              cause it to be deposited in the United States mail
                                                                                           MINUTES ENTERED
                                        Page      2 of        3          DEPT. SS14        09/06/18
                                                                                           COUNTY CLERK
    Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 7 of 94 Page ID #:19



               SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                       120 (65
                                                                                                          TO NJ
DATE: 09/0 6 / 1 8                                                                        DEPT. SS14
HONORABLE   KENNETH R. FREEMAN                  JUDGE     R. ARRAIGA, J.A.              DEPUTY CLERK

HONORABLE                              JUDGE PRO TEM                               ELECTRONIC RECORDING MONITOR
ADD-ON #4
            T. LEWIS, C.A.                Deputy AcIfff   NONE                                 Reporter


             BC719073                                     Plaintiff
                                                          Counsel
             BLANCA ARGELIA ARIAS                                      NO APPEARANCES
             VS                                           Defendant
             RESIDENCE INN BY MARRIOTT LLC E Counsel
              AL
             Complex- 9-6-2018
             NATURE OF PROCEEDINGS:
             at the courthouse in Los Angeles,
             California, one copy of the original filed/entered
             herein in a separate sealed envelope to each address
             as shown below with the postage thereon fully prepaid,
             in accordance with standard court practices.

             Dated: September 6, 2018
             Sherri R. Carter, Executive Officer/Clerk

            By: R. ARRAIGA, Judicial Assistant


            Ramin Younessi
            LAW OFFICES OF RAMIN R. YOUNESSI
            3435 Wilshire Boulevard, Suite 2200
            Los Angeles, CA 90010




                                                                                        MINUTES ENTERED
                                      Page      3 of       3          DEPT. SS14        09/06/18
                                                                                        COUNTY CLERK
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 8 of 94 Page ID #:20




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       6
       7                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
       8                                       COUNTY OF LOS ANGELES
       9                                           CENTRAL DISTRICT
     10                                                         Case No. BC719073
     11                                                         INITIAL STATUS CONFERENCE ORDER
           BLANCA ARGELIA ARIAS, et al.,
                    Plaintiff,                                  (COMPLEX LITIGATION PROGRAM)
     12
               vs.
     13                                                         Case Assigned for All Purposes to
        RESIDENCE INN BY MARRIOTT, LLC.,                        Judge Kenneth R. Freeman
     14 MARRIOTT TNTERNAT1ONAL, INC., et al.,
                                                                Department: 14
     15                  Defendants.                            Date:      December 14, 2018
                                                                Time:       10:00 a.m.
     16
                   This case has been assigned for all purposes to Judge Kenneth R. Freeman in the Complex
     17
     18 Litigation Program. An Initial Status Conference is set for December 14, 2018, at 10:00 a.m., in
     19 Department 14 located in the Spring Street Courthouse, at United States District Court, at 312
     20 N. Spring Street, Los Angeles, California 90012. Counsel for all the parties are ordered to attend.
     21           The Court orders counsel to prepare for the Initial Status Conference by identifying and
     22
           discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
     23
           initiate contact with counsel for defense to begin this process. Counsel then must negotiate and
     24
           agree, as possible, on a case management plan. To this end, counsel must file a Joint Initial Status
     25
     26 Conference Class Action Response Statement ten (10) court days (November 30, 2018 and

    27 provide a conformed courtesy copy DIRECTLY in Department 14) before the Initial Status
     28

                                           INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 9 of 94 Page ID #:21




          Conference. The Joint Response Statement must be filed on line-numbered pleading paper and
      1
      2 must specifically answer each of the below-numbered questions. Do not the use the Judicial
      3 Council Form CM-110 (Case Management Statement) for this purpose.
      4           1. PARTIES AND COUNSEL: Please list all presently-named class representatives and
      5 presently-named defendants, together with all counsel of record, including counsel's contact and
      6
          email information.
      7
                  2. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add
      8
                                               if known, by what date and by what name? Does any
      9 more class representatives? If so, and
     10 plaintiff presently intend to name more defendants? If so, and if known, by what date and by
     11 what name? Does any appearing defendant presently intend to file a cross-complaint? If so, who
     12 will be named.
     13
                  3. IMPROPERLY NAMED DEFENDANT(S): if the complaint names the wrong
     14
          person or entity, please explain.
     15
                  4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party
     16
                                                                             representative, please
     17 believes one or more named plaintiffs might not be an adequate class
     18 explain. No prejudice will attach to these responses.
     19           5. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.
     20           6. OTHER ACTIONS WITH OVER/                             CLASS DEFINITIONS: Please list
     21
          other cases with overlapping class definitions. Please identify the court, the short caption title, the
     22
          docket number, and the ease status.
     23
                  7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
     24
                                                                                     parties must
     25 WAIVER CLAUSES: Please include a sample of any clause of this sort. Opposing
     26 summarize their views on this issue.
     27           8. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identify and
     28
                                                            -2-     . .
                                          INITIAL. STATUS CONFERENCE ORDER
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 10 of 94 Page ID #:22




           describe the significant core issues in the case. Counsel then are to identify efficient ways to
       1
       2 resolve those issues. The vehicles include:
       3       •   Early motions in limine,

       4       •   Early motions about particular jury instructions,
       5       •   Demurrers,
       6
               •   Motions to strike,
       7
               •   Motions for judgment on the pleadings, and
       8
               •   Motions for summary judgment and summary adjudication.
       9
      10           9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information

      11 from the defendant's records? If so, do the parties consent to an "opt-out" notice process (as
      12 approved in Belaire-West Landscape, lnc. v. Superior Court (2007) 149 Ca1.App.0 554, 561) to
      13
           precede defense delivery of this information to plaintiff's counsel? If the parties agree on the
      14
           notice process, who should pay for it? Should there be a third-party administrator?
      15
                   10. PROTECTIVE ORDERS: Parties considering an order to protect confidential
      16
      17 information from general disclosure should begin with the model protective orders found on the
      18 Los Angeles Superior Court Website under "Civil Tools for Litigators."
      19           11. DISCOVERY: Please discuss discovery. Do the parties agree on a plan? If not, can
     20 the parties negotiate a compromise? At minimum, please summarize each side's views on
     21
           discovery. The Court generally allows discovery on matters relevant to class certification, which
     22
           (depending on circumstances) may include factual issues also touching the merits. The Court
     23
           generally does not permit extensive or expensive discovery relevant only to the merits (for
     24
     25 example, detailed damages discovery) unless a persuasive showing establishes early need. If any
     26 party seeks discovery from absent class members, please estimate how many, and also state the
     27
     28
                                                            -3-
                                          INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 11 of 94 Page ID #:23




           kind of discovery you proposel .
       1
      2            12. INSURANCE COVERAGE: Please state if there is insurance for indemnity or

      3 reimbursement.
      4            13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each
      5 party's position about it. If pertinent, how can the Court help identify the correct neutral and
      6
           prepare the case for a successful settlement negotiation?
      7
                   14. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for
      8
      9 the following:
     10        M The next status conference,

     11        ■ A schedule for alternative dispute resolution, if it is relevant,

     12        ■ A filing deadline for the motion for class certification, and
     13        ■ Filing deadlines and descriptions for other anticipated non-discovery motions.
     14
                  15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program
     15
           requires the parties in every new case to use a third-party cloud service. While the parties are free
     16
     17 to choose one of the services shown below, this Court (Department 14) prefers that the parties
     18 select:
     19        ■ Case Anywhere (http://www.caseanywhere.com).
     20        The parties are not required to select Case Anywhere, but may chose instead either
     21
               ■ File & Serve Xpress (https://sccure.fileandservexpress.com) or
     22
               ■ CaseHomePage (http://www.casehomepage.com).
     23
                  Please agree on one and submit the parties' choice when filing the Joint Initial Status
     24
     25 Conference Class Action Response Statement. If there is agreement, please identify the vendor. If
     26
     27         See California Rule of Court, Rule 3.768.
     28
                                                            -4-
                                           INITIAL, STATUS CONFERENCE ORDER
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 12 of 94 Page ID #:24




           parties cannot agree, the Court will select the vendor at the Initial Status Conference. Electronic
       1
       2 service is not the same as electronic filing. Only traditional methods of filing by physical delivery
       3 of original papers or by fax filing are presently acceptable.
       4            Reminder When Seeking To Dismiss Or To Obtain Settlement Approval:
       5            "A dismissal of an entire class action, or of any party or cause of action in a class action,
       6
           requires Court approval . . . Requests for dismissal must be accompanied by a declaration setting
       7
           forth the facts on which the party relies. The declaration must clearly state whether consideration,
       8
                or indirect, is being given for the dismissal and must describe the consideration in detail."2
       9 direct
      10 If the parties have settled the class action, that too will require judicial approval based on a noticed
      11 motion (although it may be possible to shorten time by consent for good cause shown).
      12            Pending further order of this Court, and except as otherwise provided in this Initial Status
      13
           Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the
      14
           filing of any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the
      15
           Court. However, any defendant may tile a Notice of Appearance for purposes of identification of
      16
      17 counsel and preparation of a service list. The filing of such a Notice of Appearance shall be
     18 without prejudice to any challenge to the jurisdiction of the Court, substantive or procedural
     19 challenges to the Complaint, without prejudice to any affirmative defense, and without prejudice
     20 to the tiling of any cross-complaint in this action. This slay is issued to assist the Court and the
     21
           parties in managing this "complex" case through the development of an orderly schedule for
     22
           briefing and hearings on procedural and substantive challenges to the complaint and other issues
     23
           that may assist in the orderly management of these cases. This stay shall not preclude the parties
     24
     25 from informally exchanging documents that may assist in their initial evaluation of the issues
     26
     27       2   California Rule or Court, Rule 3.770(a)
     28
                                                              -5-
                                            INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 13 of 94 Page ID #:25




            presented in this case, however shall stay all outstanding discovery requests.
        1
       2           Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order on

       3 counsel for all parties, or if counsel has not been identified, on all parties, within five (5) days of
       4 service of this order. If any defendant has not been served in this action, service is to be completed
       5 within twenty (20) days of the date of this order.
       6
                   Dated: September 6, 2018
       7
       8
                                                             EMEN glow
       9                                                    Judge Kenneth R. Freeman
      10
      11
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                                                            -6-
                                           INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 14 of 94 Page ID #:26


  T
  vz)
    IN. CT Corporation                                                          Service of Process
                                                                                Transmittal
                                                                                09/12/2018
                                                                                CT Log Number 534044347
      TO:      Jack Tamburello
               Marriott International, Inc.
               1 Star Pt
               Stamford, CT 06902-8911


      RE:      Process Served in California

      FOR:     RESIDENCE INN BY MARRIOTT, LLC (Domestic State: DE)




      ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

      TITLE OF ACTION:                    BLANCA ARGELIA ARIAS, etc., Pltf. vs. RESIDENCE INN BY MARRIOTT, LLC, etc., et
                                          al., Dfts.
      DOCUMENT(S) SERVED:                 Summons, Instruction, Cover Sheet, Information
      COURT/AGENCY:                       Los Angeles County - Superior Court, CA
                                          Case # BC719073
      NATURE OF ACTION:                   FOR FAILURE TO PROVIDE ITEMIZED WAGE AND HOUR STATEMENTS
      ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
      DATE AND HOUR OF SERVICE:           By Process Server on 09 / 12/2018 at 15:14
      JURISDICTION SERVED:                California
      APPEARANCE OR ANSWER DUE:           Within 30 days after service
      ATTORNEY(S) / SENDER(S):            Ramin R. Younessi
                                          LAW OFFICES OF RAMIN R. YOUNESSI A PROFESSIONAL LAW CORPORATION
                                          3435 Wilshire Botilevard, Suite 2200
                                          Los Angeles, CA 90010
                                          (213) 480-6200
      ACTION ITEMS:                       CT has retained the current log, Retain Date: 09/13/2018, Expected Purge Date:
                                          09/18/2018

                                          Image SOP

                                          Email Notification, Jack Tamburello Jack.Tamburello®marriott.com

                                          Email Notification, Randi Neches Randi.Neches@Marriott.com

                                          Email Notification, Reine Blackwell-Moore reine.blackwell@marriott.com

                                          Email Notification, Eleni Planzos Eleni.Planzos@marriott.com

                                          Email Notification, Matthew Casassa Matthew.Casassa@Marriott.com

                                          Email Notification, Cara Anderson Cara.Anderson@marriott.com

                                          Email Notification, Fran Kassner Fran.Kassner@marriott.com




                                                                               Page 1 of 2 / AG
                                                                               Information displayed on this transmittal is for CT
                                                                               Corporation's record keeping purposes only and is provided to
                                                                               the recipient for quick reference. This information does not
                                                                               constitute a legal opinion as to the nature of action, the
                                                                               amount of damages, the answer date, or any information
                                                                               contained in the documents themselves. Recipient is
                                                                               responsible for interpreting said documents and for taking
                                                                               appropriate action. Signatures on certified mail receipts
                                                                               confirm receipt of package only, not contents.
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 15 of 94 Page ID #:27


  O. CT Corporation                                                         Service of Process
                                                                            Transmittal
                                                                            09/12/2018
                                                                            CT Log Number 534044347
      TO:    Jack Tamburello
             Marriott International, Inc.
             1 Star Pt
             Stamford, CT 06902-8911


      RE:    Process Served in California

      FOR:       RESIDENCE INN BY MARRIOTT, LLC (Domestic State: DE)




                                         Email Notification, Michael Martinez Michael.Martinez@marriott.com

                                         Email Notification, Theresa Coetzee Theresa.Coetzee@marriott.com

                                         Email Notification, Andrew Wright Andrew.PC.Wright@marriott.com

                                         Email Notification, Dave Bell Dave.Bell@marriott.com

                                         Email Notification, Margot Metzger Margot.Metzger@Marriott.com

      SIGNED:                            C T Corporation System
      ADDRESS:                           818 West Seventh Street
                                         Los Angeles, CA 90017
      TELEPHONE:                         213-337-4615




                                                                            Page 2 of 2 / AG
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 16 of 94 Page ID #:28
                                                                                                                                    9-9-R ,m7oe-

                                                                                                                                                      SUM-100
                                           SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                        (SOLO PARA 1150 DE LA CORM
                                     (CITACION JUDICIAL)
  NOTICE ITO DEFENDANT:                                                                                                 CONFORMED COP"!
                                                                                                                           ORIGINAL FILED
  (AVISO AL DEMANDADO):                                                                                                 Superior Court of California
  RESIDENCE INN BY MARRIOTT, LLC., a Delaware limited liability
  company; MARRIOTT INTERNATIONAL, INC., [see attached]                                                                      AUG 2 3 2016
  YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                          Sherri R. Caller, Executive Otnceritlerk ol Court
  BLANCA ARGELIA ARIAS, individually and ou behalf of herself and                                                      By: Brittny Smith, Deputy
  others similarly situated,
   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
   below.
      You have 30 CALENDAR DAYS alter this summons and legal papers ere served on you In file a written response at this court and have a copy
  served on the plaintiff. A tatter or phone call will not protect you. Your written response must be in proper legal form If you want the C.041-1 to hoar your
   case. There may be a court form that you can una for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (wviw.courfinfo.ca.govIsellharp), your county law library, or the courthouse nearest you. If you cannot pay the filing tee. ask
   the court clerk for it fee waiver form. if you do not filo your response on time, you may love the case by defaut and your wages, money, and property
  may be taken without further warning from the court.
      There are other regal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. if you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web slle (www.lawhelocalifomla.org), the California Courts Online Self-Help Center
  (6vww.coudinle.o.govisoilholp), or by contacting your local court or county bar essociatiOn. NOTE: Tho court has o'stalutory lien for waived fees and
  costs an any settlement or arbitration award of 510,000 or mom In a civil case. The courts lien must be paid before the court wilt dismiss the case.
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 Central District, 111 N. Hill St., Los Angeles, CA 90012

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, ts:
 (El nombre, lb direccicin y el namoro du Feld fono del ahogrefn dal demenCta No, o del demandante quo no liana sewed°, es):
 Ramin R. Younessi, Esq., 3435 Wilshire Blvd. Ste. 2200, Los Angeles, CA 90010, (213)48U-6200

 DATE:           AUG 2 3 2018                                       Clerk, by                                                                          Deputy
 (Fecha)                             SHERRI R. CARTER               tsevutafio                                                                        (Adjunio)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010),)
 (Pare prueba de entrap de este &tatibn use el formulerio Proof of Service of Summons, (P05-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
  1SEAL1
                                   1. EJ as an individual defendant.
                                  2. n as the person sued unde the fictitious Flame of (specify):

                                                                               k/pg.,..,/,141/14
                                      3. LJ On behalf of (specify):91,/,./,te.
                                          under.           CCP 416.10 (corporation)                  0CCP 416,60 (minor)
                                                           CCP 41E20 (defunct corporation)                  E:
                                                                                                        CCP 418.70 (conservatee)
                                                   E:      CCP 416.40 (ass i5ciafjon or partnership)   ,CCP 416.90 (authorized person)
                                             E4 other (specify): 4/i7/741
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Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 17 of 94 Page ID #:29




                                                                                                                               SUM-200(A)
                                                                                                  CASE NUMBER:
      SHORT TITLE:
 1._ Blanca Argelia Arias v, Residence Inn By Marriott, LLC, et al.

                                                           INSTRUCTIONS FOR USE
    ♦ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    9 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form is attached."

     List additional parties (Check only one box. Use a separate page for each type of party.):

       E] Plaintiff                 M Defendant    Ej Cross-Complainant EI Cross-Defendant
     a Delaware corporation; and DOES 1 through 20, inclusive,




                                                                                                                  Page     2    of       2
                                                                                                                                     Aago 1 of 1
 Fawn Adopted. far Ma-Naiosy Use
   Jutildal Ceuedi of CaliteMle                   ADDITIONAL PARTIES ATTACHMENT
SUM.200(A) (Rey. January 1, 20071                       Attachment to Summons
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 18 of 94 Page ID #:30




       1    Ramin R. Younessi, Esq. (SBN 175020)
            LAW OFFICES OF RAMIN R. YOUNESSI                                           CONFORMED COPY
                                                                                           ORIGINAL FILED
    2       A PROFESSIONAL LAW CORPORATION                                              Superior Court of Californfa
            3435 Wilshire Boulevard, Suite 2200
    3       Los Angeles, California 90010
            Telephone: (213) 480-6200                                                      AUG 23 2018
    4       Facsimile: (213) 480-6201                                         Sherri R. Caller; Executive urtmerneric of Cour,.
    5      Attorney for Plaintiffs,                                                   By: Brittny Sinith, Deputy
           BLANCA ARGELIA ARIAS.
    6      individually and on behalf of herself
           and others similarly situated
    7
    8
    9
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
   10
                            FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
   11
           BLANCA ARGELIA ARIAS, individually and               CLASS ACTION                  •
   12      on behalfpf herself and others similarly situated
                                                                Case No.   BC719073
   13                                    Plaintiff,
                                                                1. FAILURE TO PAY WAGES (CAL. LABOR
   14              v.                                              CODE Hun, 226.7);
   15      RESIDENCE INN BY_MARRIOT-T;LLC.,a                    2. FAILURE TO PROVIDE REST PERIODS
           Delhware limited liabitit3,Ziatiiffy;--                 (CAL. LABOR CODE §§226.7, 512);
  16       MARRIO`IT INTERNATIONAL',1NC.1a,
           Delaware corporation; and DOES 1 through 20,         3. FAILURE TO PROVIDE ITEMIZED
  17       inclusive,                                              WAGE AND HOUR STATEMENTS (CAL.
                                                                   LABOR CODE §§226, ET SEQ.);
  18                                    Defendants.
                                                                4, PRIVATE ATTORNEY GENERAL ACT
  19                                                               (CAL. LABOR CODE §2699, ET SEQ); AND

  20                                                            5. UNFAIR COMPETITION (BUS. & PROF.
                                                                   CODE §17200 ET SEQ.)
  21
                                                                 [DEMAND FOR JIURY'TRIAL]
  22
  23       COMES NOW PLAINTIFF, BLANCA ARGELIA ARIAS, individually and on behalf of herself and

  24       others similarly situated, for causes of action against the Defendants and each of them, alleges as

  25       follows:

  26
  27
  28



                                                               -1-
                                                      COMPLAINT FOR DAMAGES
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       1                                                 INTRODUCTION
      2             1.      Plaintiff, BLANCA ARGELIA ARIAS ("Plaintiff") brings this action against
      3     Defendants RESIDENCE INN BY MARRIOTT, LLC and MARRIOTT INTERNATIONAL, INC.,
      4     and DOES 1 through 20 (collectively "Defendants" or "MARRIOTT") to recover penalties.
      5     Defendants' failure to compensate its employees for wages, missed rest and meal break premiums
      6     resulted in Defendant's failure to issue accurate itemized wage statements.
      7
      8                                                  JURISDICTION
   9               2.      This Court is the proper court, and this action is properly filed in Los Angeles County,
  10       because Defendants' obligations and liability arise therein, because Defendants maintain offices and
  11       transact business within Los Angeles County, Defendants employ numerous Class Members in Los

  12       Angeles County, and because the work that is the subject of this action was performed by Plaintiff in

  13       Los Angeles County. There is no federal question at issue as the issues herein are based solely on

  14       California statutes and law, including the Labor Code, IWC Wage Orders, Code of Civil Procedure,

  15       Civil Code, and Business and Professions Code. Thus, the above entitled court maintains appropriate

  16       jurisdiction to hear this matter.
  17
  18                                                     THE PARTIES

  19              3.      Plaintiff, Blanca Argelia Arias, is and at all times relevant hereto was a resident of the

  20       County of Los Angeles, State of California.

 21               4.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

 22        hereto, Defendant RESIDENCE INN BY MARRIOTT, LLC ("RESIDENCE INN") was and is a

 23        Delaware limited liability company doing business in the County of Los Angeles, State of California.

 24        RESIDENCE INN has numerous employees in Los Angeles County at hotels operated by RESIDENCE

 25        INN. At all relevant times, RESIDENCE INN employed 26 or more employees.

 26               5.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

 27        hereto, Defendant MAKtIOTT INTERNATIONAL, INC. ("MARRIOTT INTERNATIONAL") was

 28        and is a Delaware corporation doing business in the County of Los Angeles, State of California.



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                                                  COMPLAINT FOR DAMAGES
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      1    MARIOTT INTERNATIONAL has numerous employees in Los Angeles County at hotels operated by
   2       MARIOTT INTERNATIONAL. At all relevant times, MARRIOTT INTERNATIONAL employed 26
   3       or more employees.       Defendants RESIDENCE INN and MARRIOTT INTERNATIONAL are
   4       hereinafter referred to as "MARRIOTT".
   5              6.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
   6       hereto, MARRIOTT owned and operated a lodging and hospitality business.
   7              7.      At all times relevant herein, Defendants and DOES 1-20 were Plaintiff's employers, joint
   8       employers and/or special employers within the meaning of the Labor Code and Industrial Welfare
   9       Commission Order No. 5-2001 and are each any "employer or other person acting on behalf of an
  10      employer" as such term is used in Labor Code section 558, and liable to Plaintiff on that basis.
  11              8.      The true names and capacities, whether individual, corporate, associate, or otherwise, of
  12      the Defendants named herein as DOES 1-20, inclusive, are unknown to Plaintiff at this time and
  13      therefore said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this

 14       complaint to insert the true names and capacities of said Defendants when the same become known to
 15       Plaintiff. Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously

 16       named Defendants is responsible for the wrongful acts alleged herein and is therefore liable to Plaintiff

 17       as alleged hereinafter.

 18               9.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
 19       hereto, Defendants, and each of them, were the agents, employees, managing agents, supervisors,

 20       coconspirators, parent corporation, joint employers, alter egos, successors, and/or joint ventures of the

 21       other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part

 22       within the course and scope of said agency, employment, conspiracy, joint employer, alter ego status,
 23       successor status and/or joint venture and with the permission and consent of each of the other
 24       Defendants.

 25              10.     Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and

 26       each of them, including those defendants named as DOES 1-20, acted in concert with one another to
 27       commit the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced one
 28       another in the wrongful acts alleged herein, and/or attempted to do so, including pursuant to Government



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                                                 COMPLAINT FOR DAMAGES
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       1    Code §12940(i).      Plaintiff is further informed and believes, and based thereupon alleges, that
      2     Defendants, and each of them, including those defendants named as DOES 1-20, and each of them,
      3     formed and executed a conspiracy or common plan pursuant to which they would commit the unlawful
   4        acts alleged herein, with all such acts alleged herein done as part of and pursuant to said conspiracy,
   5        intended to cause and actually causing Plaintiff harm.
   6                11.    Whenever and wherever reference is made in this complaint to any act or failure to act
   7        by a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts
   8        and/or failures to act by each Defendant acting individually, jointly and severally.
   9                12.    By this Complaint, Plaintiff brings this case as a representative action seeking penalties
  10        for the State of California in a representative capacity, as provided by the Private Attorneys General Act
  11       ("PAGA") to the extent permitted by law, as an aggrieved employee who were subject to certain
  12       violations of the law as enumerated by this Complaint.

  13                13.    Plaintiff brings this class action and seeks certification of the claims and certain issues

  14       in this action on behalf of a Class defined as: all persons who have worked for MARRIOTT who were
  15       subjected to individual wage and hour violations, during the period within four years from the filing of

  16       this Complaint and continuing through trial.

  17                14.    Plaintiff reserves the right to amend the Class definition if further investigation and

  18       discovery indicates that the Class definition should be narrowed, expanded, or otherwise modified.

  19       Excluded from the Class are governmental entities, Defendant, any entity in which Defendant has a

 20        controlling interest, and Defendant's officers, directors, affiliates, legal representatives, employees, co-

 21        conspirators, successors, subsidiaries, and assigns. Also excluded from the Class is any judge, justice,

 22        or judicial officer presiding over this matter and the member of their immediate families and judicial

 23        staff.

 24                 15.   All members of the Class and any subclass were and are similarly affected by labor code

 25        violations by Defendant, and the relief sought herein is for the benefit of Plaintiff and member of the

 26        Class and any subclass.

 27                 16.   Plaintiff will fairly and adequately represent and protect the interests of the members of

 28        the Class.



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                                                   COMPLAINT FOR DAMAGES
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      1            17.     A true and correct copy of the Notice correspondence showing compliance with the
  2        Labor Code §2699.3 is attached as Exhibit "A" and demonstrates that Plaintiff is an aggrieved employee
  3        and has standing to bring a representative action on behalf of the State of California Labor and
  4        Workforce Development Agency (LWDA) and as a private attorney general. No notice of cure by
  5        Defendant was provided and no notice of investigation was received from the LWDA in the statutorily
  6        proscribed 60-day period since the submission of the notice of the action. Accordingly, Plaintiff files
  7       this action as a "Representative Action" as provided by California Code of Civil Procedure as
          specifically permitted and authorized by Labor Code §2699.3(a)(2)(C).
  8
 10                        ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER
 11               18.     Plaintiffs are informed and believe, and based thereon alleges, that there exists such a
 12       unity of interest and ownership between MARRIOTT and DOES 1-20 that the individuality and
 13       separateness of defendants have ceased to exist.
 14               19.     Plaintiffs are informed and believe, and based thereon alleges, that despite the formation
 15       of purported corporate existence, MARRIOTT and DOES 1-20 are, in reality, one and the same as
 16       MARRIOTT, including, but not limited to because:
 17                       a.     MARRIOTT is completely dominated and controlled by DOES 1-20, who '
 18       personally committed the frauds and violated the laws as set forth in this complaint, and who have
 19       hidden and currently hide behind MARRIOTT to perpetrate frauds, circumvent statutes, or accomplish
 20       some other wrongful or inequitable purpose.

 21                       b.     DOES 1-20 derive actual and significant monetary benefits by and through

 22       MARRIOTT unlawful conduct, and by using MARRIOTT as the funding source for their own personal

 23       expenditures.

 24                       c.     MARRIOTT and DOES 1-20, while really one and the same, were segregated to

 25       appear as though separate and distinct for purposes of perpetrating a fraud, circumventing a statute, or
 26       accomplishing some other wrongful or inequitable purpose.

 27                       d.     MARRIOTT does not comply with all requisite corporate formalities to maintain

 28       a legal and separate corporate existence.



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                                                 COMPLAINT FOR DAMAGES
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      1                   e.      The business affairs of MARRIOTT and DOES 1-20 are, and at all times relevant
      2    were, so mixed and intermingled that the same cannot reasonably be segregated, and the same are in
   3 inextricable confusion. MARRIOTT is, and at all times relevant hereto was, used by DOES 1-20 as a
   4       mere shell and conduit for the conduct of certain of MARRIOTT's affairs, and is, and was, the alter ego
   5      of DOES 1-20. The recognition of the separate existence of MARRIOTT would not promote justice, in
   6      that it would permit MARRIOTT to insulate themselves from liability to Plaintiffs for violations of the
   7      Government Code and other statutory violations. The corporate existence of MARRIOTT and DOES 1-
   8      20 should be disregarded in equity and for the ends of justice because such disregard is necessary to
   9      avoid fraud and injustice to Plaintiffs herein.
  10              20.    Accordingly, MARRIOTT constitutes the alter ego of DOES 1-20, and the fiction of
  11      their separate corporate existence must be disregarded.
  12              21.    As a result of the aforementioned facts, Plaintiffs are informed and believes, and based
  13      thereon alleges that MARRIOTT and DOES 1-20 are Plaintiffs' joint employers by virtue of a joint
  14      enterprise, and that Plaintiffs were employees of MARRIOTT and DOES 1-20. Plaintiffs performed

  15      services for each and every one of Defendants, and to the mutual benefit of all Defendants, and all

  16      Defendants shared control of Plaintiffs as employees, either directly or indirectly, and the manner in

 17       which MARRIOTT's business was and is conducted.

 18              22.     Alternatively, Plaintiffs are informed and believe and, based thereupon allege, that as

 19       and between DOES 1-20 and MARRIOTT, (1) there is an express or implied agreement of assumption

 20       pursuant to which DOES 1-20 agreed to be liable for the debts of MARRIOTT, (2) the transaction

 21       between DOES 1-20, and MARRIOTT amounts to a consolidation or merger of the two corporations,

 22       (3) DOES 1-20 is a mere continuation of MARRIOTT, or (4) the transfer of assets to DOES 1-20 is for

 23       the fraudulent purpose of escaping liability for MARRIOTT's debts. Accordingly, DOES 1-20 are the

 24       successors of MARRIOTT, and are liable on that basis.

 25
 26
 27
 28



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                                                 COMPLAINT FOR DAMAGES
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   1                                           FACTUAL ALLEGATIONS
   2              23.    During all, or a portion, of the one-year period before Plaintiffs filed Notices of their
   3    claims with the LWDA, Plaintiffs and each of the aggrieved employees seek to represent were employed
   4    by Defendants and each of them, in the State of California.
   5              24.   California Labor Code section 204 provides that all wages earned are due payable at least
   6   twice each month, and section 1194 provides that notwithstanding any agreement to work for a lesser
   7   wage, an employee receiving less than the minimum wage is entitled to recover in a civil action the
   8   unpaid balance of their minimum wages, including interest thereon, reasonable attorney's fees, and costs
   9   of suit.
  10              25.    Plaintiffs and each aggrieved employees were non-exempt employees covered under
  11   one or more Industrial Welfare Commission (1WC) Wage Orders, including 5-2001 ("Wage Orders"),
  12   and Labor Code Section 1182.12, 1194, 1194.2, 1197, and/or other applicable wage orders, regulations
  13   and statutes, and were not subject to an exemption for executive, administrative, professional
  14   employees, or any other exemption, which imposed an obligation on the part of the Defendants to pay
  15   Plaintiffs and each aggrieved employees lawful compensation, including payment of minimum wages.
  16   Defendants were obligated to pay Plaintiffs and the aggrieved employees compensation for all hours
  17   worked. At all relevant times, Defendants employed 26 or more employees.
  18              26.   Defendants required the Plaintiffs and aggrieved employees to work regular wages but
  19   did not pay lawful wages, in violation of the various above applicable Wage Orders, regulations,
  20   statutes, and ordinances.
  21          27.       Labor Code section 226.7 provides that an employer shall not require an employee to

  22   work during a rest or recovery period mandated pursuant to an applicable statute, or applicable

 23    regulation, standard, or order of the Industrial Welfare Commission.

 24           28.       Plaintiffs and each aggrieved employee were non-exempt employees covered under one

 25    or more Industrial Welfare Commission (IWC) Wage Orders, including 5-2001 ("Wage Orders"), and

 26    Labor Code Sections 226.7, 512, and/or other applicable wage orders, regulations and statutes, and were

 27    not subject to an exemption for executive, administrative, professional employees, or any other

 28    exemption, which imposed an obligation on the part of the Defendants to pay Plaintiffs and each



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  1    aggrieved employee lawful compensation. The IWC Wage Order No. 5-2001 provides that "the
  2    authorized rest period time shall be based on the total hours worked daily at the rate of ten (10) minutes
  3    net rest time per four (4) hours or major fraction thereof."
  4            29.     Defendants required the Plaintiffs and aggrieved employees to work through their rest
  5    breaks but did not pay lawfill wages, in violation of the various above applicable Wage Orders,
  6   regulations, statutes, and ordinances.
  7           30.      Defendants were obligated to pay Plaintiffs and the aggrieved employees one (1) hour's
  8   compensation for each rest and meal period interrupted or not provided to them. Defendants failed to
  9   pay all missed rest and meal period compensation due.
 10           31.     Defendants, and each of them, consistently violated Labor Code §226 by failing to
 11   prOvide Plaintiff and members of the aggrieved employees accurate, itemized wage statements.
 12           32.     Business and Professions Code, section 17203, provided that any person who engages in
 13   unfair competition may be enjoined in any court of competent jurisdiction. Business and Professions
 14   Code, section 17204 provides that any person who has suffered actual injury and has lost money or
 15   property as a result of the unfair competition may bring an action in a court of competent jurisdiction.
 16           33.     Plaintiffs reserve the right to amend of modify the definitions of aggrieved employees
 17   with respect to issues or in any other way.
 18
 19                                         FIRST CAUSE OF ACTION

 20                                      FOR FAILURE TO PAY WAGES DUE

 21                                          LABOR CODE 16201, 226.1

 22                      AGAINST ALL DEFENDANTS AND DOES 1-20. INCLUSIVE

 23           34.     Plaintiffs re-allege and incorporates by reference Paragraphs 1 through 33, inclusive, as

 24   though set forth in full herein.

 25           35.     At all relevant times, Defendants failed and refused to pay Plaintiffs wages earned and

 26   required by 8 Code of Regulations §11090, as set forth hereinabove. As alleged herein, Defendants

 27   routinely failed to pay Plaintiffs and other aggrieved employees minimum wages, overtime wages,

 28


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                                               COMPLAINT FOR DAMAGES
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      1    compensation for missed rest and meal breaks and failed to pay wages for unused vacation time and
   2       sick leave.
   3              36.     As alleged herein, Plaintiffs were not exempt from the requirements of Labor Code §510,
   4       8 Code of Regulations §11090, and Industrial Welfare Commission Order No. 5-2001.
   5              37.      Plaintiffs have been deprived of Plaintiffs' rightfully earned compensation as a direct
  6        and proximate result of Defendants' failure and refusal to pay said compensation. Plaintiffs are entitled
  7       to recover such amounts, plus interest thereon, attorneys' fees and costs.
  8
  9                                            SECOND CAUSE OF ACTION
 10                                   FOR FAILURE TO PROVIDE REST BREAKS
 11                                                LABOR CODE 4&226.7
 12                           AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE
 13               38.     Plaintiffs re-,allege and incorporate by reference Paragraphs I through 33, inclusive, as
 14       though set forth in full herein.
 15               39.     Labor Code §226.7 requires an employer to provide every employee with an
 16       uninterrupted rest period of not less than 10 minutes, for every period worked in excess of four hours.
 17               40.     Defendants failed and refused to provide Plaintiffs with uninterrupted rest periods, and
 18       failed to compensate Plaintiffs for missed rest periods, as required by Labor Code §§226.7 and the
 19       applicable sections of 8 Code of Regulations §11090 and Industrial Welfare Commission Order No. 5-
 20       2001, as follows.
 21               41.    Plaintiffs have been deprived of wages for missed rest breaks due in amounts to be

 22       determined at trial.
 23              42.     As alleged herein, Plaintiffs are not exempt from the rest break requirements of 8 Code

 24       of Regulations §11090 and Industrial Welfare Commission Order No. 5-2001. Consequently, Plaintiffs

 25       are owed one hour of pay at their then regular hourly rate, or the requisite minimum wage, whichever

 26       is greater, for each day that they were denied such rest periods.

 27              43.     Plaintiffs have been deprived of their rightfully earned compensation for rest breaks as

 28       a direct and proximate result of Defendants' failure and refusal to pay said compensation.



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      1               44.     Thus, for the entirety of the time periods set forth above, Plaintiffs are entitled to recover
      2    such amounts to be determined at trial pursuant to Labor Code §226.7(b), plus interest thereon and costs
   3       of suit.
   4                                                 THIRD CAUSE OF ACTION
   5                   FOR FAILURE TO PROVIDE ITEMIZED WAGE AND HOUR STATEMENTS
   6                                               LABOR CODE 64226 ET SEO.
   7                             AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE
   8                  45.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 33, inclusive, as
                       •-•



   9      though set forth in full herein.
  10                  46.    Pursuant to Labor Code §§226 and 1174, employers have a duty to provide their non-
  11      exempt employees with itemized statements showing total hours worked, hourly wages, gross wages,
  12      total deductions and net wages earned. An employer who violates these code sections is liable to its
  13      employees for the greater of actual damages suffered by the employee, or $50.00 in civil penalties for
  14      the initial pay period in which a violation occurred, and $100.00 per employee for each subsequent pay
  15      period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code §226(e)(2), an employee is
  16      deemed to suffer injury for purposes of this subdivision if the employer fails to provide a wage statement
  17      at all.
  18                47.      In addition thereto, pursuant to Labor Code §226.3, an employer who willfully violates
  19      Labor Code §226 is subject to a $250.00 civil penalty for the initial pay period in which a violation
  20      occurred, and $1,000.00 per employee for each subsequent pay period, with no maximum.

 21                 48.      At all relevant times, Defendants failed to provide the Plaintiffs with timely and accurate

 22       wage and hour statements showing gross wages earned, total hours worked, all deductions made, net

 23       wages earned, the name and address of the legal entity employing Plaintiffs and all applicable hours and

 24       rates in effect during each pay period and the corresponding number of hours worked at each hourly

 25       rate by Plaintiffs. Not one of the paystubs that Plaintiffs received complied with Labor Code §226, and

 26       contained almost none of the required information, including hours actually worked and compensation

 27       for missed rest periods.

 28                 49.      As alleged herein, Plaintiffs are not exempt from the requirements of Labor Code §226.



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                                                     COMPLAINT FOR DAMAGES
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    1            50.     This failure has injured Plaintiffs by misrepresenting and depriving them of hour, wage,
    2    and earnings information to which each of them is entitled, causing each of them difficulty and expense
   3     in attempting to reconstruct time and pay records, causing each of them not to be paid wages they are
   4     entitled to, causing each of them to be unable to rely on earnings statements in dealings with third
   5     parties, eviscerating their right under Labor Code §226(b) to review itemized wage statement
   6     information by inspecting the employer's underlying records, and deceiving them regarding their
   7    entitlement to rest period wages. For the time periods that Plaintiffs were not provided with paystubs
   8    at all, their aforementioned injuries are presumed as a matter of law.
   9            51.     Plaintiffs were paid on a bi-weekly basis, and therefore Defendants violated Labor Code
  10    §226 numerous times during the last year that Plaintiffs. Consequently, Defendants are liable to
  11.   Plaintiffs for each. of their actual damages, or penalties in the statutory maximum amount of $4,000.00,
  12    whichever is greater.
  13            52.     In addition thereto, Plaintiffs are each entitled to civil penalties pursuant to Labor Code
  14    §226.3 in the amount to be determined at trial.
  15            53.     Based on Defendant's conduct as alleged herein, Defendant is liable for damages and
  16    statutory penalties pursuant to Labor Code §226, civil penalties pursuant to Labor Code §226.3, and
  17    other applicable provisions, as well as attorneys' fees and costs.
  18
  19                                        FOURTH CAUSE OF ACTION
  20                                FOR PRIVATE ATTORNEY GENERAL ACT
  21                                              LABOR CODE &2699
  22                          AGAINST DEFENDANTS AND DOES 1-20, INCLUSIVE
  23            54.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 53, inclusive, as

  24    though set forth in full herein.

 25             55.    Under Labor Code §2699, Plaintiffs, as aggrieved employees, may bring an action

 26     against Defendants, on behalf of themselves and other current or former employees, seeking statutory

 27     civil penalties for Defendants' violations of the California Labor Code.

 28



                                                           -11-
                                               COMPLAINT FOR DAMAGES
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                   56.    Plaintiffs were aggrieved employees within the meaning of Labor Code §2699(a) and
      2    2699.3(a), as Defendants have committed multiple California Labor Code violations against him, as
      3    previously pleaded in this Complaint.
   4               57.    On May 24, 2018, more than 60 calendar days before filing this Complaint, Plaintiffs
   5       provided written notice by online filing to the Labor and Workforce Development Agency and to
   6       Defendants of the specific provisions of the California Labor Code that Defendants violated, thereby
   7       satisfying the requirements of Labor Code §2699.3(a). These violations included Labor Code §§ 226,
   8       227.3, 246, 226.7, 512, 1182.12, 1194, 1194.2, 1197, each of which is enumerated among the serious
   9       violations set forth in Labor Code §2699.5. Attached herein as Exhibit "1" and incorporated herein by
  10      this reference is a true and correct copy of Plaintiffs' Private Attorney General Act notice.
  11              58.     Under Labor Code §2699.3(c)(2)(A), Defendants may cure alleged violations within 33
  12      calendar days of the postmarked date of the written notice sent by Plaintiffs. As of the filing of this
 13       Complaint, Defendants have not cured such violations within the specified time period. Consequently,
 14       Plaintiffs may now commence a civil action, pursuant to Labor Code §2699.3
 15               59.     As of the filing of this Complaint, Plaintiffs have not received any response from the
 16       Labor and Workforce Development Agency on its intent to pursue an action against Defendants.
 17       Consequently, Plaintiffs may now commence a civil action, pursuant to Labor Code §2699.3.
 18               60.    As a direct and proximate result of Defendants' California Labor Code violations as set
 19       forth in this Complaint, Plaintiffs are entitled to civil penalties of $100 for each aggrieved employee per

 20       pay period for the initial violation, and $200 for each aggrieved employee per pay period for each
 21       subsequent violation, pursuant to Labor Code §2699(f), for those Labor Code sections not expressly
 22       providing for a penalty, and civil penalties provided by the specific Labor Code sections that do
 23       expressly provide for a penalty, §§226, 226.3, and 226.7.

 24               61.    Plaintiffs, as personal representatives of the general public, will and do seek to recover

 25       any and all penalties for each and every violation shown to exist or to have occurred during the one year

 26       period before Plaintiffs filed Notice with the LWDA of their intent to bring this action, in an amount

 27       according to proof, as to those penalties that are otherwise only available to public agency enforcement

 28       actions. Funds recovered will be distributed in accordance with the PAGA, with at least 75% bf the



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                                                  COMPLAINT FOR DAMAGES
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   1    penalties recovered being reimbursed to the State of. California and the Labor and Workforce
   2    Development Agency. Plaintiffs are also entitled to reasonable attorney's fees and costs, and 25% of
   3    the recovered civil penalties, pursuant to Labor Code §§2699(g)(1)-(i).
   4
   5                                         FIFFH CAUSE OF ACTION
   6                                       FOR UNFAIR COMPETITION
   7                          BUSINESS & PROFESSIONS CODE p17200, ET SEO.
   8                      AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE
   9           62.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 61, inclusive, as
  10   though set forth in full herein.
  11           63.    Defendants' violations of 8 Code of Regulations §11090, Industrial Welfare
  12   Commission Order No. 5-2001, Labor Code §§226, 226.7, 227.3, 246, 512, 1182.12, 1194, 1194.2,
  13   1197, 2699, and other applicable provisions, as alleged herein, including Defendants' failure and refusal
  14   to provide wages for missed rest break compensation, Defendants' failure to provide timely and accurate
  15   wage and hour statements and Defendants' failure to maintain complete and accurate payroll records
 16    for the Plaintiffs, constitute unfair business practices in violation of Business & Professions Code
 17    §§17200, et seq.
 18            64.    As a result of Defendants' unfair business practices, Defendants have reaped unfair
 19    benefits and illegal profits at the expense of Plaintiffs and members of the public. Defendants should
 20    be made to disgorge their ill-gotten gains and restore such monies to Plaintiffs.

 21           65.     Defendants' unfair business practices entitle Plaintiffs to seek preliminary and
 22    permanent injunctive relief, including but not limited to orders that the Defendants account for,

 23    disgorge, and restore to the Plaintiffs the monies and benefits unlawfully withheld from Plaintiffs.

 24
 25                                            PRAYER FOR RELIEF

 26    WHEREFORE, Plaintiffs seek judgment against Defendants and each of them, in an amount according

 27    to proof but estimated to be no less than an amount according to proof:

 28           1. For failure to pay wages due pursuant to Labor Code §§226.7, 227.3, 246, 512,



                                                          -13-
                                              COMPLAINT FOR DAMAGES
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   1    1182.12, 1194, 1194.2, 1197 and Industrial Welfare Commission Order No. 5-2001, and 8 Code of
   2    Regulations §11090, in the amount according to proof;
   3           2.     For statutory penalties or damages pursuant but not limited to Labor Code §558(a) in the
   4   amount according to proof;
   5           3.     For payment of rest period compensation pursuant to Labor Code §§226.7 and 512 in
   6   the amount according to proof;
   7           4.     For damages pursuant to Labor Code §226 in the amount according to proof;
   8           5.     For statutory penalties or damages pursuant to Labor Code §226.3 in the amount
   9   according to proof;
  10           6.     For statutory penalties pursuant to Labor Code §2699(f), in the amount in the amount
 11    according to proof on Plaintiffs' own behalf, and similar amounts on behalf of all of Defendants'
  12   aggrieved employees;
 13            7.     For prejudgment interest on each of the foregoing at the legal rate from the date the
 14    obligation became due through the date of judgment in this matter;
 15    WHEREFORE, Plaintiffs further seek judgment against Defendants, and each of them, in an amount
 16    according to proof, as follows:
 17           8.      For restitutionary disgorgement of profits garnered as a result of Defendants' unlawful
 18    conduct, failure to pay wages and other compensation in accordance with the law;
 19           9.      For costs of suit, attorneys' fees, and expert witness fees pursuant to the Labor Code,
 20    and/or any other basis;
 21           10.     For post-judgment interest; and
 22           11.     For any other relief that is just and proper.

 23
       DATED: August 21, 2018                                              - MN R. YO
                                                           LAW OFFICES,OrliAl                         ESSI
 24                                                        A PROFESSIONAL LAW CORP                    TION   •
 25
                                                                    f
 26
                                                                  Ramm R. Younessi, Esq.
 27                                                               Attorney for Plaintiffs,
                                                                  BLANCA ARGELIA ARIAS
 28                                                               individually and on behalf of herself
                                                                  and others similarly situated


                                                           -14-
                                              COMPLAINT FOR DAMAGES
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   1
                                              JURY TRIAL DEMANDED
   2
       Plaintiff demands trial of all issues by jury.
  3
  4    DATED: August 21, 2018                            LAW OFFICES OF RAMIN R. Y I UNESSI
                                                         A PROFESSI9NAL LAW CO ORATION
  5
  6
  7                                                      •     Raltun R. ounessi, sq.
                                                               Attorney for Plaintiffs,
                                                               BLANCA ARGELIA ARIAS
                                                               individually and on behalf of herself
  8                                                            and others similarly situated
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                                               COMPLAINT FOR DAMAGES
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 33 of 94 Page ID #:45




    ATTORNFY OR PARTY Win-pig ATTORNEY _eldatrg._Slata Bet nomder. ana adchaa):                                             FOR COURT USE ONLY
  — Realm H. Younessi, Esq. (SBN 17582D)
    Law Offices ofRamie R. Younessi A.P.L,C.
    3435 Wilshire Boulevard, Suite 2200                                                                                CONFORMED COPY
   Los Angeles, California 90010                                                                                           ORIGINAL FILED
         TELEPHONE NO.: (213) 480-6200            FAx No.: (213) 480-6201                                               Superkor Court of California
    ATTORNEY FOR (//ama): Ylaintiff, Blanca
                                         Argelia Arias                                                                    Cn .,r• 0, . ^" "a, ^ — — -1^ -
  SUPERIOR'COURT OF CAUFORNIA, COUNTY or Los Angeles
      ..Er- A.REss, 111 N. Hill St,                                                                                          AUG 23 2018
      MAILJNE: ACCRESS: same as above
     COYAND ZIP CODE: Los Angeles, CA 90012                                                              Shoff' R. Carter, Executive UtficerOetk of COI
         BRAN CH NAME! Central D istrict                                                                         By: Brittny SinIth, Deputy
    CASE NAME
  Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.
    CIVIL CASE COVER SHEET                   Complex Case Designation                                  c.'      IAJBe      7 1 9 01 3
 LLI Unlimited         Limited
                                         NM Counter                Joinder
     (Amount           (Amount                                                                         JUDGE:
     demanded          demanded Is      Filed with first appearance by defendant
     exceeds $25,000)  $25,000 or less)     (Cal. Rules of Court, rule 3.402)                            Om:
                                      items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
    Auto Tort                                        Contract                                  Provisionally Complex Clvil Litigation

     Ei     Auto (22)
           Uninsured motorist (46)
    Other PIIPONVD (Pereonol Injury/Property
                                                     0 Breath of contract/warranty (08) (Cal. Rules of Court, rules SA06-3.403)
                                                     1-1 Rule 3.740 collections (09)
                                                     1 1 Other collections (09)
                                                                                                        ibust/Trade regulation (03)
                                                                                                     Construction defect (10)
    DamegelWrongful Death) Tort                      = insuranoo coverage (18)                       Mass tort (40)

   I
    0 Asbestos (04)
           Product liability (24)
                                                             El
                                                           Other contract (37)                 l     Securttles litigation (28)
                                                     Real Property                                   EnvIronmental/Toxic tort (30)
     Cl    Medical malpractice (45)                  0 Eminent domain/Inverse                        insurance coverage clesrrs arising from the
     El    Other PUPDAND (23)                              condemnation (14)                         above fisted provisionally complex case
                                                                                                     types (41)
    Non-Pr/PC/WO (Other) Tort                       17 Wrongful eviction (33)
    = Business tort/unfair business practice (07)            1::
                                                           Other real property (26)            Enforcement   of Judgment
    ---1•Civil rights (08)                           Unlawful Detainer                         E.1  Enforcement     of judgment (20)
   I I Defamation (13)                               = Commercial (31)                         Miscellaneous Civil Complaint
    0 Fraud (16)                                     = Residential (32)                        ci RICO (27)
    ri     intellectual property (19)                        CD
                                                           Drugs (36)                          C3   Other complaint (not spooltIod above) (42)
    1-1  •Professional negligence (25)              Judicial Review                            Miscellaneous Civil Petition
    CI     Other non-PitF1D/WD tort (35)            El Asset forfeiture (05)                   = Partnership end corporate governance (21)
     !..
      tl.Icy meat                                            CI
                                                           Petition re: arbitration award (11) 0 Other petition (not specified above) (43)
   1 iJ Wrongful termination (36)                   n Win of mandate (02)
   r—i   •other amployrnent (15)                    El Other judicial review (39)
2. This case I it I is 1_1 Is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management
   6.0 Large number of separately represented parties       d. ULame number of witnesses
   b.0 Extensive motion practice raising difficult or novel e. El Coordination with related actions pending In one or more courts
            Issues that will'be time-consuming to resolve         in other counties, states, or countries, or in a federal court
   c.0 Substantial amount of documentary evidence           f. =Substantial postjudgment judicial supervision
   Remedies sought (check all Mat apply): 8.1:Z1 monetary b.EJ nonmonetary; declaratory or injunc-tive-ielief                                c. Elpup(tIvo
4. Number of causes of action (specify): Five (5)
5. This case [Ij is 0 is not a Class action suit.
6. ifthere are any known related cases, file end serve a notice of related case. (Youjnay use form CM-015.)
Date: August 21.2018
Ramin R Youne,ssi, Esq.
                                 (TYPE OR MKT NAME)                                          (SIGNATURE OF PARTY OR ATTORNEY FOR P
                                                                                  NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small cleilTIS cases or cases flied
    under the Probate Code, Family Code, or Welfare end Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    In sanctions.
  • Flie this cover,sheet in addition to any cover sheet required by local court rule.
  O if this case is complex under rule 3.400 et seq. of the California Rules of Court. you must serve a copy of this cover sheet on all
    Other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only;                   P     o

Form ACapied ter Marld.lcry We                                                                               Cal Fat pa al Ontin.     233, 3.V0. 3             7f
      tlal Cau/RE 0/ Calfornla                               CIVIL CASE COVER SHEET                                  Cal. Slanaardi 0/J14:101AtIrranhiraLtn,   zlo
   CM-010 per July 1, 20071                                                                                                                     ,06            gi y
  Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 34 of 94 Page ID #:46



                                                                                                                                              CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
   complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case Ills both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2_30 and 3.220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
  which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the Case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                         CASE TYPES AND EXAMPLES
 Auto Tort                                          Contract                                        Provisionally Complex Civil Litigation (Cal.
       Auto (22)-Personal Injury/Property               Breach of Contraci/Warranty (06)             Rules of Court RUIN 3.400-3.403)
              Damage/Wrongful Death                         Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                          Contract (nor unlawful detainer             Construction Defect (10)
              case involves err uninsured                           or wrongful eviction)                   Claims Involving Mass Tort (40)
             motorist claim subject to                      Contract/Warranty Breach-Seller                 Securities Litigation (28)
             arbltratkm, chock this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic TOrt (30)
             instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
 Other PI/PD/WO (Personal Injury!                               Warranty                                        (arising from provisionally complex
 Property OamagetWrongful Death)                            Other Breach of ContracWVarranty                    case type listed above) (41)
 Tort                                                  Collections (e.g., money owed, open            Enforcement of Judgment
       Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
             Ashostos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                            Other Promissory Note/Collections                        County)
             Asbestos Personal Injury!
                  Wrongful Death                                Case                                            Confession of Judgment (non-
                                                       Insurance Coverage (not provisionally                         domestic relations)
       Product Liability (not asbestos or
                                                            complex) (18)                                       Sister State Judgment
             toxicienvironmental) (24)
       Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
            Medical Malpractice-                            Other Coverage                                          (not unpaid taxes)
                  Physicians 8. Surgeons               Other Contract (37)                                      Petition/Certification of Entry of
                                                            Contractual Fraud                                       Judgment on Unpaid Taxes
            Other Professional Health Care
                  Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                   Root Property                                                     Case
       Other PI/PDAND (23)
            Premises Liability (e.g., slip             Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                                                            Condemnation (14)                              RICO (27)
                  and fall)
            Intentional Bodily Injury/PDIWD            VVronglui Eviction (33)                             Other Complaint (not specified
                                                                                                                above) (42)
                  (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)            Declaratory Relief Only
            Intentional Infliction of                      Writ of Possession of Real Property
                                                                                                                intunotive Relief Only (non-
                  Emotional Distress                       Mortgage Foreclosure                                      harassment)
            Negligent Infliction of                        Quiet Title
                  Emotional Distress                                                                           Mechanics Lien
                                                           Other Real Property (not eminent                    Other Commercial Complaint
            Other Pi/PDAND                                 domain, lendlordfienant, or                               Case (non-tort/non-complex)
Non-PI/1201WD (Other) Tort                                 foreclosure)
                                                                                                               Other Civil Complaint
      Business Tort/Unfair Business                Unlawful  Detainer                                               (non-lurtInon-complex)
          Practice (07)                               Commercial (31)                                 Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
           false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
           harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                     report as Commercial or Residentia0                 above) (43)
             (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                       Asset Forfeiture (05)                                    Workplace Violence
      Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                     Writ of Mandate (02)                                           Abuse
          Legal Malpractice                                Writ-Administrative Mandamus                        Election Contest
          Other Professional Malpractice                   Writ-Mandamus on Limited Court                      Petition for Name Change
                (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/VVD Tort (35)                        Writ-Other Limited Court Case                             Claim
Employment                                                     Review                                          Other Civil Petition
     Wrongful Termination (36)                        Other Judicial Review (39)
     Other Employment (15)                                 Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                              Commissioner Appeals
CM-1/101ROv. July 1, 20071                                                                                                                 PACIE, 2 of 2
                                                      CIVIL CASE COVER SHEET
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 35 of 94 Page ID #:47




  WORT TITLF_:_                                                                                       CASE NUMBER
                                                                                                                        BC?1907
               Blanca Argelie Arias v. Residence Inn By Marriott, LLC, et al.


                               CIVIL CASE           SHEET ADDENDUM AND
                                       STACTOEVMEERNT OF LOC AT ION
              i (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form Is required pursuant to Local Rule 2.3 In all new civil case things In the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                           Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.       7.Location where pellUoner resides.
2.Permissive filing in central district.                                              B. Location wherein defendant/respondent functions wholly,
3. Locution where cause of action arose.                                              9.Location where one or more of the parties reside.
4. Mandatory personal Injury Ming In North District.                                 10.Location of Labor Commissioner Office.
                                                                                     U. Mandatory filing location (Hub Cases —unlawful detainer, limited
5. Location where performance required or defendant resides.                         non-collection, limited collection, or personal injury).
6.Location of property or pemianengy garaged vehicle.



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                                                                                                                                        q141.q,            :
                            Auto (22)              1:1 A7100 Motor Vehicle -Personal Injury/Property DamagelWrongful Death              1, 4, 11

                    Uninsured Motorist (46)        0 A7110 Personal Injury/Property Damage/Wmngiul Death— Uninsured Motorist            1.4, 11


                                                   0 A6070 Asbestos Property Damage                                                     1,11
                         Asbestos (04)
                                                   0 A7221 Asbestos - Personal InjwyNVrongful Death                                     1.11

                      Product Liability (24)       0 A7260 Product Liability (not asbestos or tmdc/envirorunental)                      1, 4, 11

                                                   0 A7210 Medical Malpractice- Physicians & Surgeons                                   1, 4.11
                   Medical Malpractice (45)                                                                                             1, 4, 11
                                                   0 A7240 Other Professional Health Care Malpractice

                                                   0 A7250 Promises Liability (e.g., slip and fall)                                     1,4, 11
                        Other Personal
                        Injury Property            0 A7230 Intentional bodily InjurylProperly DamageMirongful Death (e.g.,              1. 4, 11
                       Damage Wmngtel                      assault, vandalism, etc.)
                          Death (23)                                                                                                    1,4. 11
                                                  0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                        1, 4, 11
                                                  0 A7220 Other Personal Injury/Properly DamageArVrongful Death




  LAW 109 (Rev 2116)                             CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
  LASC Approved 03-04                               AND STATEMENT OF LOCATION                                                         Page i of 4
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 36 of 94 Page ID #:48




SHORT TITLE:                                                                                                                    CASE NUMBER
               Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.

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                          Business Tort (07)                   0 A6029 Other Commarclal/Business Tort (not fraud/breach of contract)                                       1, 2, 3

                               Civil Rights (08)               CI A8005 Civil Rights/Discrimination                                                                        1, 2, 3
   ar
        w                                                                                                                                                                 1. 2, 3
                               Ilnfamotion (13)                0 A6010 Defenalion (31Hr ider/Ilbe8

   c    rn                        Fraud (16)                   0 A6013 Fraud (no contract)                                                                                1, 2, 3
     g
   o                                                           0 A6017 Legal Malpractice                                                                                  1, 2, 3
   Ea            Professional Negligence (25)
  Q.- a'                                                       0 A6050 Other Professional Malpractice (not medical or legal)                                              1, 2, 3
  C E
  o cri
  z
                                  Other (36)                   0 A6025 Other Non-Personal Injury/Property Damage tort                                                     1, 2, 3

                     Wrongful Termination (36)                 0 A6037 Wrongful Temlination                                                                               1, 2, 3

                                                               12 A6024 Other Employment Complaint Case                                                                   1, 2, 3
                      Other Employment (15)
                                                               0 A6109 Labor Commissioner Appeals                                                                         10

                                                               0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful                                 2 5
                                                                       eviction)
                 Breach of Contract/ Warranty                                                                                                                             2, 5
                             (06)                              ❑ A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                               D
                       (not insurance)                                                                                                                                    1, 2, 5
                                                               0 A6019 Negligent Breach of ContractNVarranty (no fraud)
                                                               0 A6028 Other Breach of ConlractNVarranty (not fraud or negligence)                                        1. 2, 5

                                                               0 A6002 Collections Case-Seller Plaintiff                                                                  5, 8, 11
                           Collections (09)
                                                               0 A8012, Other Promissory Note/Collections Case                                                            5, 11
                                                               0 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                                         5, 6, 11
                                                                       Purchased on or after January 1, 2014)
                     Insurance Coverage (18)                   Cl A6015 Insurance Coverage (not complex)                                                                  1, 2, 5, 8

                                                           ID A6009 Contractual Fraud                                                                                     1, 2, 3, 5
                        Other Contract (37)                    0 A6031 Tortious Interference                                                                              1, 2, 3, 5
                                                               0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                                      1,2, 3, 8, 9

                     Eminent Domain/Inverse                0 A7300 Eminent Domain/Condemnation                                    Number of parcels                       2.6
                       Condemnation (14)

   0.                 Wrongful Eviction (33)               0 A6023 Wrongful Eviction Case                                                                                 2,6
   0
                                                           0 A6018 Mortgage Foreclosure                                                                                   2, 6
   DC                Other Real Property (26)              CI A6032 Quiet Title                                                                                           2, 6
                                                           0 A6060 Other Real Properly (not eminent domain, landlord/tenant, foreclosure)                                 2, 6

               Unlawful Detainer-Commercial                                                                                                                               8, 11
                                                           0 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                           (31)
               Unlawful Detainer-Residentlei                                                                                                                              6, 11
                                                           0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
   O                       (32)
                       Unlawful Detainer-                                                                                                                                 2, 6, 11
                                                           0 A6020F Unlawful Detainer-Post-Foreclosure
                      Post-Foreclosure (34)
  I            Unlawful Detainer-Drugs (38)                0 A6022 Unlawful Detalner-Drugs                                                                               2, 6, 11



LACIV 109 (Rev 2/16)                                     CIVIL CASE COVER SHEET ADDENDUM                                                                              Local Rule 2.3
LASC Approved 03-04                                         AND STATEMENT OF LOCATION                                                                                    Page 2 of 4
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SHORT TITLE:                                                                                                                                       CASE NUMBER
                                                 Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.

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                                                         Asset Forfeiture (05)           0 A6108 Asset Forfeiture Case                                                                     2. 3, 8

                                                    Petition re Arbitration (11)         0 A6115 Petition to Compel/ConfirmNacate Arbitration                                              2, 5
                   Review




                                                                                         0 A6151 Writ - Administrative Mandamus                                                            2, 8
           Judicial




                                                         Will of Mandate (02)            0 A6152 Wrtt - Mandamus on Limited Court Case Matter                                              2
                                                                                         0 A8153 Writ - Other Limited Court Case Review                                                    2

                                                   Other Judicial Review (39)            0 A6150 Other Writ /Judicial Review                                                              2, 8

                                                 Antitrust/Trade Regulation (03)         0 A6003 Antitrust/Trade Regulation                                                               1, 2, 8
       Provisionally Complex Litigation




                                                    Construction Defect (10)            0 A6007 Construction Defect                                                                       1, 2, 3

                                                   Claims Involving Mass Tort                                                                                                             1, 2, 8
                                                                                        0 A6006 Claims involving Mass Tart
                                                              (40)

                                                    Securities Litigation (28)          0 A8035 Securities Litigation Case                                                                1, 2, 8

                                                             Toxic Tort                                                                                                                   1, 2, 3, 8
                                                                                        0 A6036 Toxic TortiEnvironmental
                                                         Environmental (30)

                                                  Insurance Coverage Claims             0 A6014 Insurance Coverage/Subrogation (complex case only)                                       1 1,2, 5, 8
                                                    from Complex Case (41)

                                                                                        0 A6141 Sister State Judgment                                                                     2, 5, 11
                                                                                        0 A6160 Abstract of Judgment                                                                      2, 6
  Enforcement
                               ofJudgment




                                                              Enforcement               0 A6107 Confession of Judgment (non-domestic relations)                                           2, 9
                                                            of Judgment (20)            0 A6140 Administrative Agency Award (not unpaid taxes)                                            2, 8
                                                                                        0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                                  2, 8
                                                                                        0 A6112 Other Enforcement of Judgment Case                                                        2, 8. 9

                                                               RICO (27)                0 A6033 Racketeering (RICO) Case                                                                  1, 2, 8
       Complaints
   Miscellaneous




                                                                                        0 A6030 Declaratory Relief Only                                                                   1,2, 8
                                                                                        0 A6040 Injunctive Relief Only (not domestidharessment)                                           2, 6
                                                        Other Complaints
  Civil




                                                   (Not SpeirilieLl Above) (4z)         0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                                    1,2, 8
                                                                                        0 A6000 Other Civil Complaint (non-tort/non-complex)                                              1. 2, 8
                                            ._




                                                    Partnership Corporation                                                                                                               2, 8
                                                                                        0 A6113 Partnership and Corporate Governance Case
                                                       Governance (21)
                                            .




                                                                                        0 A6121 Civil Harassment                                                                          2, 3, 9
 Miscellaneous
 CivilPetitions




                                                                                        Cl A6123 Workplace Harassment                                                                     2, 3, 9
                                                                                        O A6124 Elder/Dependent Adult Abuse Case                                                          2, 3, 9
                                                         Other Petitions (Not
                                                        Specified Above) (43)           0 A6190 Election Contest                                                                          2
                                                                                        0 A6110 Petition for Change of Name/Change of Gender                                              2, 7
                                                                                        0 A6170 Petition for Relief from Late Claim Law                                                   2, 3, 8
                                                                                        0 A6100 Other Civil Petition                                                                      2, 9




LACIV 109 (Rev 2/16)                                                                 CIVIL CASE COVER SHEET ADDENDUM                                                                   Local Rule 2.3
LASC Approved 03-04                                                                     AND STATEMENT OF LOCATION                                                                        Page 3 of 4
  Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 38 of 94 Page ID #:50



  SHORT TITLE                                                                            CASE NUMBER
                Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
              type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
              (No address required for class action cases).

                                                                        AGGRESS:
   REASON:                                                              21 West Walnut Street
     WI     L 2. Li 3.G 4. CI 5. El 6. LI 7, CJ 8. Ll 9. LI 10. 2 11.



   cITY                                        STATE:      ZIP CODE:

   Pasadena                                    CA          91103


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                             District of
             the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and. Local Rule 2.3{a)(1.)(E)].




                2- 2018
  Dated: August
                                                                                     (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

          1. Original Complaint or Petition.

          2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

          3. Civil Case Cover Sheet, Judicial Council form CM-010.

      4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
         02/16).

      5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.

      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109 (Rev 2116)                       CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
 LASC Approved 03-04                           AND STATEMENT OF LOCATION                                                 Page 4 of 4
  Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 39 of 94 Page ID #:51

    Z.. ---       .                                                                             -     Reserved la Clerk's File slemp
                       SUPERIOR COURT OF CALIFORNIA                                    .
                         — COUNTY OF LOS ANGELES                                                         CONFORMED COPY
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 111 North Hill Street, Los Angeles, CA 90012                                                                  ., o  it ar                            .
                                                                                                               AUG      2 3 2018
                        NOTICE OF CASE ASSIGNMENT                                               Sherri R Carter, Executive Oker/Clerk of Court
                                                                                                        By: Brittny Sinith, Deputy
          UNLIMITED CIVIL — CLASS ACTION/COMPLEX

                                                                                       CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below.                       BC 719073
                             THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                      ASSIGNED JUDGE      DEPT      ROOM ,;3                        ASSIGNED JUDGE                      DEPT           ROOM
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           Hon. William F. Highberger        10        10       -'
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           Hon. John Shepard Wiley, Jr.      9         9        ,.?..-.4,
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           Hon. Maren E. Nelson              17        17       'f•
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           Hon. Carolyn B. Kuhl              12        12       V
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                                                                   'i        Hon. Brian S. Currey                          15                IS
                                                                             *Provisional complex (non-class                            Supervising
                                                                  4.         action) case assignment pending               14             Judge
                                                                 ":Lc;:
              i                                                  tri         complex determination                                          14

    Given to 0Aatitiffikrzosfomplainant/Attomey of Record                      SHERRI R. CARTER, Executive Officer/Clerk of Court

    on                                                                         By            13,11kinq          cv4114                 , Deputy Clerk
LACIV 190 (Rev 12/17)         NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
      Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 40 of 94 Page ID #:52



                                       INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES
4

    The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
    for your assistance.
    APPLICATION
    The Division- 7 Rules were effective January 1, 2007. They apply to all general civil cases.
    PRIORITY OVER OTHER RULES
    The Division :7 Rules shall have priority over all other Local Rules to the extent The others are inconsistent.

    CHALLENGE TO ASSIGNED JUDGE
    A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes to
    a judge, or if a party has not yet appeared, within 15 days-of the first appearance.

    TIME STANDARDS
    Cases assigned to the Independent•Calendaring Courts will be subject to processing under the following time standards:
    COMPLAINTS
    All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

    CROSS-COMPLAINTS
    Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-complaints
    shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

    STATUS CONFERENCE
    A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
    complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial
    date, and expert witnesses.

    FINAL STATUS CONFERENCE
    The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All parties
    shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested form jury
    instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These matters may be
    heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged lists of exhibits
    and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required by Chapter Three
    of the Los Angeles Superior Court Rules.
    SANCTIONS
    The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
    and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party, or if
    appropriate, on counsel for a party.

     This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
     therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
    -compliance-with the actual Chapter Rules is imperative.

    Class Actions
    Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
    judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent Calendar
    Courtroom• for all purposes.

    *Provisionally Complex Cases
    Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of complex
    status. I f thc case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be randomly assigned
    to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be returned to an Independent
    Calendar Courtroom for all purposes.




    LACIV 190 (Rev 12117)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
    LASC Approved 05/06
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                                  VOLUNTARY EFFICIENT LITIGATION. STIPULATIONS


                                     The Early Organizational Meeting Stipulation, Discovery
                                  Resolution Stipulation, and Motions in Limine Stipulation are
   Superior Court of California
   County of Los Angeles
                                  voluntary stipulations, entered into by the parties. The parties
                                  may enter into one, two, or all three of the stipulations;
                                  however, they may not alter the stipulations as written,
    LAC_ BA                       because the Court wants to ensure uniformity of application.
    Los•Angeles County
    Bar Association               These stipulations are meant to encourage cooperation
   •Litigation Section

   .Los Angeles County
                                  between the parties and to assist . in resolving issues in a
    Bar Association Labor and
    Employment Law Section        manner that promotes economic case resolution and judicial
                                  efficiency.

            if los Ariortai -        The    following   organizations    endorse    the   goal   of
   Consumer Attorneys
   Assbciation of Los Angeles     promoting efficiency in litigation and ask that counsel
                                  consider using these stipulations as a voluntary way to
                                  promote communications and procedures among counsel
                                  and with the court to fairly resolve issues in their cases.

                                  ♦Los Angeles County Bar Association Litigation Section♦
           -- —
   Southern California
   Defense Counsel
                                            ♦ Los Angeles County Bar Association
                                                Labor and Employment Law Section♦
        aB
   Association of
   Business Trial Lawyers             ♦Consumer Attorneys Association of Los Angeles♦


                                           ♦Southern California Defense Counsel♦


                                           ♦Association of Business Trial Lawyers♦
   1141- :CELA
   California Employment
   Lawyers Association
                                       ♦California Employment Lawyers Association♦


      LACK 230 (NEW)
      LASC Approved 4-11
      For Optional Use
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 42 of 94 Page ID #:54




 NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY.                STATE EAR ROUSER            R nerved car Clull's Fla SW"




          TELEPHONE NO.:                                   FAX NO. (Opdonal):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:


 PLAINTIFF:


 DEFENDANT:

                                                                                           CASE NUMBER:

            STIPULATION — EARLY ORGANIZATIONAL MEETING

       This stipulation is Intended to encourage cooperation among the parties at an early stage In
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

              a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                 amendment as of right, or if the Court would allow leave to amend, could an amended
                 complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                 agree to work through pleading issues so that a demurrer need only raise issues they. cannot
                 resolve, Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                 would some other type of motion be preferable? Could a voluntary targeted exchange of
                 documents or information by any party cure an uncertainty in the pleadings?

              b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                 employment case, the employment records, personnel file , and documents relating to the
                 conduct in question could be considered "core." in a personal injury case, an incident or
                 police report, medical records, and, repair or maintenance records could be considered
                 "core.");

              c. Exchange of names and contact information of witnesses;

              d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                 indemnify or reimburse for payments made to satisfy a judgment;

              e, Exchange of any other information that might be helpful to facilitate understanding, handling,
                 or resolution of the case in a manner that preserves objections or privileges by agreement;

              1.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                   phases of the case. Also, when and how such issues can be presented to the Court;

              g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting Judge or a private mediator or other options as
      LACIV 229 (Rev 02/16)
      LASC Apptoved 04/11               STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                  Page 1 of 2
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 43 of 94 Page ID #:55



    SHORT 711LE:                                                                       masa HUMBER




                   discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                   complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

          i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                   www.lacourtorg under "Civil" and then under "General Information").

    2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                   to                         for the complaint, and                            for the cross- •
                            (INSERT DATE)                                       (INSERT DATE)
                complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               •been found by the-Civil Supervising Judge due to the case management benefits provided by
                this Stipulation. A copy of the General Order can be found at www.lecourt.orct under "Civil',
                click on "Genera/ Information", then dick on "Voluntary Efficient Litigation Stipulations".

    3..       The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
              and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
              results of their meet and confer and advising the Court of any way it may assist the, parties'
            • efficient conduct or resolution orthe case. The parties shall attach the Joint Status Report to
              the Case Management Conference statement, and file the documents when the CMC
              statement Is due.

    4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
                   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                   for performing that act shall be extended to the next Court day

    The following parties stipulate:

    Date:

                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR PLAINTIFF)
    Date:
                                                                    ➢
                      (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
    Date:

                      (TYPE OR PRINT NAME)                                     (ATTORNEY FOR DEFENDANT)
    Date:

                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:

                     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
    Date:

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    Date:

                     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


    LACIV 229 (Rev 02/15)
    LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                Page 2 of 2
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 44 of 94 Page ID #:56




 NA►   AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER               Reamed fog OW* Flto swap




              TELEPHONE NO.:                                FAX NO. (Optional):
  E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Warne!.
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS;
                .                                                                            -
 PLAINTIFF;


 DEFENDANT:

                                                                                                 CASE NUMBER

                      STIPULATION — DISCOVERY RESOLUTION

        This, stipulation is intended to provide a fast and informal resolution of discovery issues
        through limited paperwork and an informal conference with the Court to aid in the
        resolution of the issues.

        The parties agree that:

        1. Prior to the discovery cut-off in this action, no discbvery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

        2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
           and determine whether it can be resolved informally. Nothing set forth herein will preclude a
           party from making a record at the conclusion of an Informal Discovery Conference, either
           orally or in writing.'

        3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
           presented, a party may request an Informal Discovery Conference pursuant to the following
           procedures:

                    a. The party requesting the informal Discovery Conference will:

                       i.      File a Request for Informal Discovery Conference with the clerk's office on the
                               approved form (copy attached) and deliver a courtesy, conformed copy to the
                               assigned department;

                      ii.      Include a brief summary of the dispute and specify the relief requested; and

                     iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                               that ensures that the opposing party receives the Request for Informal Discovery
                               Conference no later than the next court day following the filing.

                    b. Any Answer to a Request for Informal Discovery Conference must:

                       i.      Also be filed on the approved form (copy attached);

                      ii.     Include a brief summary of why the requested relief should be denied;
       LACIV 036 (new)
       LASC Approved 04111                      STIPULATION — DISCOVERY RESOLUTION
       For Optional Use                                                                                                  Page 1 of 3
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 45 of 94 Page ID #:57



    SHORT TIME:                                                                   CASE NUMB EFL




                  ill.   Be filed within two (2) court days of receipt of the Request; and

                  iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                         method of service that ensures that the opposing party receives the Answer no
                         Eater than the next court day following the filing.

         c. No other pleadings, including bUt not limited to exhibits, declarations, or attachments, will
            be accepted.

         d. If the Court has not granted or denied the Request for Informal Discovery Conference
            within ten (10) days following the filing of the Request, then it shall be deemed to have
            been denied. If the Court acts on the Request, the parties will be notified whether the
             Request for Informal Discovery Conference has been granted or denied and, if granted,
           • the date and time of the Informal Discovery Conference, which must be within twenty (20)
             days of the filing of the Request for Informal Discovery Conference.

         e. if the conference is not held within twenty (20) days of the filing of the Request for
            Informal Discovery Conference, unless extended by agreement of the parties and the
            Court, then the Request for the Informal Discovery Conference shall be deemed to have
            been denied at that time.

    4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address unresolved issues.

    5.. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

         It is the understanding and Intent of the parties that this stipulation shall, for each discovery
         dispute to which It applies, constitute a writing memorializing a "specific later date to which
         the propounding [or demanding or requesting) party and the responding party have agreed in
         writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
         2033.290(c).

    6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
       an order shortening time for a motion to be heard concerning discovery.

    7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
       terminate the stipulation.

    8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
       any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
       fOr performing that act shall bp extended to the next Court day.



    LACIV 036 (new)
    LASC Approved 04/11            STIPULATION — DISCOVERY RESOLUTION
    For Optional Use                                                                              Page 2 of 3
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 46 of 94 Page ID #:58



      6HORT 7TrLE:                                                    MOE NURSER!




      The following parties stipulate:

      Date:
                     (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
      Date:
                                                        ➢
                     (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
      Date:
                                                        ➢
                     (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
      Date:
                                                        ➢
                     .(TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
      Date:

                     (TYPE OR•PRINT NAME)                   (ATTORNEY FOR
      Date:

                     (TYPE OR PRINT NAME)                   (ATTORNEY FOR
      Date:

                     (TYPE OR PRINT NAME)                   (ATTORNEY FOR




      LAC(V 030 (new)
  '   LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                         Page 3 of 3
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 47 of 94 Page ID #:59




 NAME ARID AOORE56 OF ATTORNEY bR PARTY YRINOUT ATTORNEY:                 STATE OAR NIBIBDI                   Roared rat CINEs Fee SLIM




          TELEPHONE NO.:                                    FAX NO. (Optional);
 E-MAIL ADDRESS (Optional)
     ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE AOORESS:

 PLAINTIFF:


 DEFENDANT:


                                                                                                     CASE NUMBER:
                      INFORMAL DISCOVERY CONFERENCE
                (pursuant to the Discovery Resolution Stipulation of the parties)
       t. This document relates to:
             ❑       Request for Informal Discovery Conference
             ❑       Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                     (insert date 10 calendar, days following filing of
              the Request).
       3. Deadline for Court to hold Informal Discovery Conference:                                             (Insert date 20 calendar
              days following filing of the Request),
       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, including the facts and legal arguments at issue. For an Answer to
          Request for Informal Discovery Conference, briefly, describe why the Court should deny
          the requested discovery, including the facts and legal arguments at Issue.




      LAC IV 094 (new)
      LASC Approved 04/11
                                               INFORMAL DISCOVERY CONFERENCE
      For Optional Use                   (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 48 of 94 Page ID #:60




 NAME AMP ADDROSS OF ATTORNEY OR PASTY WITHOUT ATTORNEY:                 STATE GAR NUMBER            11 weaved for Vela Fla Stan"




         I TELEPHONE NO.:                                  FAX NO. (Optional):
  E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS.

 PLAINTIFF:


 DEFENDANT:

          •                                                                                 CASE NUMBER:

   •           STIPULATION AND ORDER — MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion:

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

              a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                 stipulate, they may file a stipulation and proposed order.with the Court.

              b. Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement of issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                 short joint statement of issues and the process for filing the. short joint statement of
                 issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LASC Approved 04/11              STIPULATION AND ORDER — MOTIONS IN LIMINE
       For Optional Use                                                                                                 Page 1 or 2
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 49 of 94 Page ID #:61



    SNORT TITLE:                                               owe 1;ADABEa:




    The following parties stipulate:
    Date:

                   (TYPE.OR PRINT NAME)                    (ATTORNEY FOR PLAINTIFF)
    Date:

                   (TYPE OR PRINT NAME)                   .(ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR DEFENDANT)
    Date:

                   (TYPE OR PRINT NAME)               (ATTORNEY FOR
    Date:

                   (TYPE OR PRINT NAME)               (ATTORNEY FOR                      )
    Date:

                   (TYPE OR PRINT NAME)               (ATTORNEY FOR



    THE COURT SO ORDERS.

      Date:
                                                               JUDICIAL OFFICER




    LACIV 075 (new)
    LASC Approved 04111     STIPULATION AND ORDER — MOTIONS IN MINE               Page 2 of 2
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 50 of 94 Page ID #:62




                           Superior Court of California
                             County of Los Angeles




              ALTERNATIVE DISPUTE. RESOLUTION (ADR)
                     INFORMATION PACKET


               The .person who files a civil lawsuit (plaintiff) must Include the ADR Information
               Packet with the complaint when serving the defendant. Cross-complainants must
               serve the ADR Information Packet on any new parties named to the action
               together with the cross-complaint.

               There are a number of ways to resolve civil disputes without having to sue •
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR):

               In ADR, trained, impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
               the court. Neutrals can help resolve disputes without having to go to court.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 51 of 94 Page ID #:63




Advantages of ADR
   • Often faster than going to trial
   ■ Often leis expensive, saving the litigants court costs, attorney's fees and expert fees.
   • May permit more participation, allowing parties to have more control over the outcome.
   • Allows for flexibility in•choice of ADR processes and resolution-of•the dispute.
   • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
      mutually agree to remedy.
   ■ There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
      stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.
   ■ If ADR is binding, the parties normally give up most court protections, including a.decision by a judge or
     • jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
   • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
   • The neutral may charge a fee for his or her services.
   • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.


The Most Common Types of ADR

    •   Mediation

        In mediation, a neutral (the mediator}•assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            •   Mediation is particularly effective when the parties have a continuing relationship, like
                neighbors or business people. Mediation is also very effective where personal feelings are
                getting in the way of a resolution. This is because mediation normally gives the parties a chance
                to express their feelings and find out how the other sees things.

            ■ Mediation may not be effective when one party is unwilling to cooperate or compromise or
              when one of the parties has a significant advantage in power over the other. Therefore, it may
              not be a good choice if the parties have a history of abuse or victimization.




LAMM 005 (Rev. 03/17)
IASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                    .Page 2 of 4
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 52 of 94 Page ID #:64




            -   Arbitration

                In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                binding." Binding•arbitration means the parties waive their right:to a trial and agree to accept
                the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                request a trial if they reject the arbitrator's•decision.

                Arbitration is best for cases where the parties want another person to decide the outcome of
                their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                also be appropriate for complex matters where the parties want•a decision-maker who has
                training or experience in the subject matter of the dispute.



            ■ MandatOry Settlement Conference (MSC)

                Settlement Conferences are appropriate In any case where settlement is an option.
                Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                time exclusively to preside over the MSC. The judge does not make a decision in the case but
                assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                settlement.

                -The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                 charge and staffed by experienced sitting civil judges who devote their time exclusively to
                 presiding over MSCs. The judges participating in the judicial MSC program and their locations
                 are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                 athttirl/www.lacourt.org/. This program is available in general jurisdiction cases with
                 represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                 In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                 eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                 asbestos calendar court in CCW.

                In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                the program. Further, all parties must complete the infOrmation requested in the Settlement
                Conference Intake Form and email the completed form to mscdept18@lacourt.org.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                     Page 3 of 4
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 53 of 94 Page ID #:65




 Additional Information

 To locate a dispute resolution program or neutral in your community:

    •   Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
        Center toll free at 800-952-5210, or;
    •   Contact the local bar association (http://www.lacba.org/) or;
    •   Look in a telephone directory or search online for "mediators; or "arbitrators."

 There may be a charge for services provided by private arbitrators and mediators.



 A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
 http://calbar.ca.gov/Attorneys/Mennber5ervices/FeeArbitration/ApprovedPrograms.aspx1419



To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http:ficss.lacounty.goy/programs/dispute-resolution-program-drp/



                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                     Page 4 of 4
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 54 of 94 Page ID #:66


   ■5, CT Corporation                                                           Service of Process
                                                                                Transmittal
                                                                                09/12/2018
                                                                                CT Log Number 534044672
      TO:      Jack Tamburello
               Marriott International, Inc.
               1 Star Pt
               Stamford, CT 06902-8911


      RE:      Process Served in California

      FOR:     MARRIOTT INTERNATIONAL, INC. (Domestic State: DE)




      ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

      TITLE OF ACTION:                    BLANCA ARGELIA ARIAS, etc., Pltf. vs. RESIDENCE INN BY MARRIOTT, LLC, etc., et
                                          al., Dfts. // To: MARRIOTT INTERNATIONAL, INC.
      DOCUMENT(S) SERVED:                 SUMMONS, COMPLAINT, ATTACHMENT(S)
      COURT/AGENCY:                       Los Angeles County - Superior Court, CA
                                          Case # BC719073
      NATURE OF ACTION:                   Employee Litigation - FAILURE TO PAY WAGES, etc.
      ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
      DATE AND HOUR OF SERVICE:           By Process Server on 09/12/2018 at 15:14
      JURISDICTION SERVED :               California
      APPEARANCE OR ANSWER DUE:           Within 30 Calendar days after this summons and legal papers are served on you
      ATTORNEY(S) / SENDER(S):            Ramin R. Younessi, Esq.
                                          LAW OFFICE OF Ramin R. Younessi
                                          3435 Wilshire Boulevard, Suite 2200
                                          Los Angeles, CA 90010
                                          213-480-6200
      REMARKS:                            The document(s) received have been modified to reflect the name of the entity
                                          being served.
      ACTION ITEMS:                       CT has retained the current log, Retain Date: 09/13/ 2018, Expected Purge Date:
                                          09/18/2018

                                          Image SOP

                                          Email Notification, Jack Tamburello Jack.Tamburello@marriott.com

                                          Email Notification, Randi Neches Randi.Neches@Marriott.com

                                          Email Notification, Reine Blackwell-Moore reine.blackwell@marriott.com

                                          Email Notification, Eleni Planzos Eleni.Planzos®marriott.com

                                          Email Notification, Matthew Casassa Matthew.Casassa@Marriott.com

                                          Email Notification, Cara Anderson Cara.Anderson@marriott.com




                                                                                Page 1 of 2 / AS
                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained In the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 55 of 94 Page ID #:67


      CT Corporation                                                       Service of Process
                                                                           Transmittal
                                                                           09/12/2018
                                                                           CT Log Number 534044672
      TO:    Jack Tamburello
             Marriott International, Inc.
             1 Star Pt
             Stamford, CT 06902-8911


      RE:    Process Served in California

      FOR:   MARRIOTT INTERNATIONAL, INC. (Domestic State: DE)




                                        Email Notification, Fran Kassner Fran.Kassner@marriott.com

                                        Email Notification, Michael Martinez Michael.Martinez@marriott.com

                                        Email Notification, Theresa Coetzee Theresa.Coetzee@marriott.corn

                                        Email Notification, Andrew Wright Andrew.PC.Wright@marriott.com

                                        Email Notification, Dave Bell Dave.Bell@marriott.com

                                        Email Notification, Margot Metzger Margot.Metzger@Marriott.com

      SIGNED:                           C T Corporation System
      ADDRESS:                          818 West Seventh Street
                                        Los Angeles, CA 90017
      TELEPHONE:                        213-337-4615




                                                                           Page 2 of 2 / AS
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference, This Information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 56 of 94 Page ID #:68
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                                               SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO OE LA CORM
                                     (CITACION JUDICIAL)
 NOTICE ITO DEFENDANT:                                                                                                      CONFORMED COPY
                                                                                                                              ORIGINAL FILED
 (AVISO AL DEMANDADO):                                                                                                      Surrtor Court of California

  RESIDENCE INN BY MARRIOTT, LLC., a Delaware limited liability
  compariy; MARRIOTT INTERNATIONAL, INC., [see attached]                                                                       AUG 2 3 2018
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                                                                   Cour
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                            Sherri R. Cater, Executive phi:ea:10c of

  BLANCA ARGELIA ARIAS, individually and on behalf of herself and                                                       By: Brittny Smith, Deputy
  others similarly situated,
   NOTICE! You havo been sued. The court may decide against you without your being heard unless you respond within 30 days. Read tho Information
   below.
     You have 30 CALENDAR OAYS utter this summons and legal papers are served on you to Ito a written response at this court and have a copy
  served on the plaintiff. A latter or phone call wiff not protect you. Your written response must be in proper legal form If you want this court to hoar your
   case. There may be a court form that you can use for your response. You can find these court forme and more information at the California Courts
  Cloths Solf•Help Center (www.courfinfo.cagovisellholp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee. ask
  the court clerk (or a fee waiver form If you do not filo your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without Further warning from the court.
      There are other legal requirements. You may want to call an attorney right away, llyou do nal know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legol,Services Web slle (wwwlewhelpcalifomia.org), the California Courts Online SeltHelp Center
  (www.couttinfeca.govisalMelp), or by contacting your local court or county bar rissadation. NOTE: 'me court has a statutory lien for waived feeS and
  costs on any settlement or arbitration awmd of S10.000 or more In o civil case. The court's Ilen must be paid before the court will dismiss the case.
  0211/S0/ Lo hart demandado. SI no msponde denim do 30 Was, /a rode puede clocldfr en su contru sin °scorner su vorsfdn. Lea Is informacian o
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 en formate legal correct° sl desea quo proccsen su caso en to cone. Es posibte quo hays fin formularie quo ogee/ puede imr para au respuesta.
 Puede encontrar estos formularies do la coup y mss Informacion en el Centro do Ayuda de los Cortes do Ca/atim/8(4Avw,aucode.ca.gov), on is
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   Hay alms reculsilas legatos. Es recomanchable quo flame a un abogado Inmedialamente. SI no conoce a en abogado, puede darner a un servklo de
 rernisten a ebogados. SI no puede pager a un abogado, es posible qua cvmpla con los requisites pore oblener servlcfos legates gratullos de un
 programa do servicios legates sin fines do lucre. Puede enconfrar astosgrupos sin fines de lucro en el Oa web de California Legal Services,
 (wivw.lavihelpcellfomlo.org), en el Centro de Ayuda do Ms Cortes do California, (Ivww.sucorte.cs.gov) o eaniendose en contacts can la corte o el
 Cologio do abogedos locales. AtriSO: For ley, Is cede Ilene derecho a lectern& les cuotas y los costes exentas por imponer an gravamen sabre
 cualquier recuperaciOn de $10,000 6 mils de valor reclblcia medlanla un acuetdo o una concesidn de arbllrafa en un case de derecho CML Ilene qua
 pager el gravamen de la cone antes de qua la cede puede desechar el case.
The name and address of the court is:                                                                       CkSENWIBER
                                   Los Angeles Superior Court
(El nombre y diraccidn de 18 COO as):                                                                       1"IN"r51        C17 19 0                      3
 Central District, Ill N. Hill St., Los Angeles, CA 90012

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:   •
(Cl nOmbiu, la-direccion y al liurneru de (uhlturio dui abogado del deMeno'anto, o del demandante quo no Vona                         abogado, es):
 Ramin R. Younessi, Esq., 3435 Wilshire Blvd. Ste. 2200, Los Angeles, CA 90010, (213)480-6200

DATE:            AUG 2           3 2018
                                                            R. CARTER
                                                                                 Clerk, by                                                                 , Deputy
(Patna)
  echa)                                        SHERRI                            (Secretario)             \27A         kl     5v,:kk                        (AdjUnte)
(For proof of sortrIce of this summons, use Pmof of Service of Summons (form POS-010).)
(Para Works de entrega de este citation use el formulari0 Proof of Service of Summons, (P05-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
 ISEAL1
                                          1.rias an individual defendant.                                                                                       „,
                                          2.        as the person sued under       e fictitious   name of (speo•y):
                                                                                                                /7*/'r(-75/174-t) /7/g-')
                                          3.EX on behalf of (specify): W;#9 /4-he.
                                               under:           CCP 416.10 (corporation)                    1-1 CCP        418.60 (minor)
                                                        L   I    CCP 416.20 (defunct corporation)           [     J    CCP 418.70 (conservatee)
                                                        1=I CCP 416.40 (association or partnership)         pi        CCP 416.90 (authorized person)
                                                 E=1 other (specify):
                                          4. ED by personal delivery on (dale):
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Farr, AO Wild tar Matidat cry Usti                                         SUMMONS                                                 Cade of Cite PtinfoltUre §§ 4 12.20,4E0
 ,kgrata Council of Celdartia                                                                                                                        wom.couninfocagov
 SUM•100. For. July 1, 20591
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 57 of 94 Page ID #:69




                                                                                                                              SUM-200iA)
                                                                                                  CASE NUMBER:
     SHORT TITLE:
      Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.
 L




                                                           INSTRUCTIONS FOR USE
    3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    3 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form is attached."

     List additional parties (Chock only one box. Use a separate page fur each type of party.):

      E Plaintiff                  El Defendant     p Cross-Complainant         J Cross-Defendant:'

     a Delaware corporation; and DOES 1 through 20, inclusive,




                                                                                                                  Page    2     of       2
                                                                                                                                     pav
 Form Adopted to/ Mandatory Use
   Judicial Council at Ca$fomle                   ADDITIONAL PARTIES ATTACHMENT
SUM-2001A) [Ray. January 1.20071                        Attachment to Summons
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 58 of 94 Page ID #:70




       1     Ramin R. Younessi, Esq. (SBN 175020) .
             LAW OFFICES OF RAMIN R. YOUNESSI                                          CONFORMED COPY
                                                                                            ORIGINAL FILED
       2 A PROFESSIONAL LAW CORPORATION                                                 Sur:121; Court_ 121C,1i19rp fa
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       4 . . Facsimile: (213) 480-6201 •                                      Sherri R. Garter; Executive uttireuCierKet Cora.
       5    Attorney for Plaintiffs,                                                  By: Brittny Sintth, Deputy
            BLANCA ARGELIA ARIAS.
       6    individually. and on.behalf of herself
            and others similarly situated
       7
    8
    9
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
   10
                            FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
   11
           BLANCA ARGELIA ARIAS, individually and                 CLASS ACTION
   12      on behalf of herself and others similarly situated,
                                         Plaintiff,
                                                                  Case No.   BC 7 19073
   13
                                                                  1. FAILURE TO PAY WAGES (CAL. LABOR
  14               v.                                                CODE §§201, 226.7);
  15       RESIDENCE INN BY MARRIOTT, LLC., a                     2. FAILURE TO PROVIDE REST PERIODS
           EteIaware.limited liability.company;,                     (CAL. LABOR CODE §§226.7, 512);
  16       MARRIOTT' ENTERNATIONAL,.INC,;.d.
           Delaware corporation;,find DOES .1 through 20,         3. FAILURE TO PROVIDE ITEMIZED
  17       inclusive,                                                WAGE AND HOUR STATEMENTS (CAL.
                                                                     LABOR CODE §§226, ET SEQ.);
  18                                     Defendants.
                                                                  4. PRIVATE ATTORNEY GENERAL ACT
  19                                                                 (CAL. LABOR CODE §2699, ET SEQ); AND
  20                                                              5. UNFAIR COMPETITION (BUS. & PROF.
                                                                     CODE §17200 ET SEQ.)
  21
                                                                  [DEMAND FOR JURYTRIAL1
  22
  23       COMES. NOW PLAINTIFF, BLANCA ARGELIA ARIAS, individually and on behalf of herself and

  24       others similarly situated, for causes of action against the Defendants and each of them, alleges as

  25       follows:

  26
  27
  28



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                                                      COMPLAINT FOR DAMAGES
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      1                                                INTRODUCTION
      2           1.       Plaintiff, BLANCA ARGELIA ARIAS ("Plaintiff') brings this action against
      3    Defendants RESIDENCE INN BY MARRIOTT, LLC and MARRIOTT INTERNATIONAL, INC.,
      4    and DOES 1 through 20 (collectively "Defendants" or "MARRIOTT") to recover penalties.
      5    Defendants' failure to compensate its employees for wages, missed rest and meal break premiums
   6       resulted• in Defendant's failure to issue accurate itemized wage statements.
   7
   8                                                    JURISDICTION
   9              2.      This Court is the proper court, and this action is properly filed in Los Angeles County,
  10       because Defendants' obligations and liability arise therein, because Defendants maintain offices and
  11      transact business within Los Angeles County, Defendants employ numerous Class Members in Los
  12      Angeles County, and because the work that is the subject of this action was performed by Plaintiff in
  13      Los Angeles County. There is no federal question at issue as the issues herein are based solely on
  14      California statutes and law, including the Labor Code, IWC Wage Orders, Code of Civil Procedure,
  15      Civil Code, and Business and Professions Code. Thus, the above entitled court maintains appropriate
  16      jurisdiction to hear this matter.
  17
 18                                                    'THE PARTIES
 19               3.      Plaintiff, Blanca Argelia Arias, is and at all times relevant hereto was a resident of the
 20       County of Los Angeles, State of California.
 21              4.       Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

 22       hereto, Defendant RESIDENCE INN BY MARRIOTT, 'LLC ("RESIDENCE INN") was- and is a

 23       Delaware limited liability company doing business in the County of Los Angeles, State of California.

 24       RESIDENCE INN has numerous employees in Los Angeles County at hotels operated by RESIDENCE

 25       INN. At all relevant times, RESIDENCE INN employed 26 or more employees.

 26              5.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

 27       hereto, Defendant MARRIOTT INTERNATIONAL, INC. ("MARRIOTT INTERNATIONAL") was

 28       and is a Delaware corporation doing business in the County of Los Angeles, State of California.



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      1    MARIOTT INTERNATIONAL has numerous employees in Los Angeles County at hotels operated by
   2       MARIOTT INTERNATIONAL. At all relevant times, MARRIOTT INTERNATIONAL employed 26
   3       or more employees.       Defendants RESIDENCE INN and MARRIOTT INTERNATIONAL are
   4       hereinafter referred to as "MARRIOTT".
   5              6.      Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
   6       hereto, MARRIOTT owned and operated a lodging and hospitality business.
   7              7.      At all times relevant herein, Defendants and DOES 1-20 were Plaintiffs employers, joint
  8       employers and/or special employers within the meaning of the Labor Code and Industrial Welfare .
  9       Commission Order No. 5-2001 and are each any "employer or other person acting on behalf of an
 10       employer" as such term is used in Labor Code section 558, and liable to Plaintiff on that basis.
 11               8.      The true names and capacities, whether individual, corporate, associate, or otherwise, of
 12       the Defendants named herein as DOES 1-20, inclusive, are unknown to Plaintiff at this time and
 13       therefore said Defendants are sued by such fictitious names. Plaintiff will seek leave to amend this
 14       complaint to insert the true names and capacities of said Defendants when the same become known to

 15       Plaintiff. Plaintiff is informed and believes, and based thereupon alleges, that each of the fictitiously

 16       named Defendants is responsible for the wrongful acts alleged herein and is therefore liable to Plaintiff

 17       as alleged hereinafter.

 18               9.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

 19       hereto, Defendants, and each of them, were the agents, employees, managing agents, supervisors,

 20       coconspirators, parent corporation, joint•employers, alter egos, successors, and/or joint ventures of the

 21       Other Defendants, and each of them, and in doing the things alleged herein, were acting at least in part

 22       within the course and scope of said agency, employment, conspiracy, joint employer, alter ego status,

 23       successor status and/or joint venture and with the permission and consent of each of the other

 24       Defendants.

 25              10.     Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and

 26       each of them, including those defendants named as DOES 1-20, acted in concert with one another to

 27       commit the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced one

 28       another in the wrongful acts alleged herein, and/or attempted to do so, including pursuant to Government



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        Code §17.940; Plaintiff is further informed and believes, and based thereupon alleges, that
   2    Defendants; and each of them, including those defendants named as DOES 1-20, and each of them,
   3    formed and executed a conspiracy or common plan pursuant to which they would commit the unlawful
   4    acts alleged herein, with all such acts alleged herein done as part of and pursuant to said conspiracy,
   5    intended to cause and actually causing Plaintiff harm.
   6            11.    Whenever and wherever reference is made in this complaint to any act, or failure to act
   7    by a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts
   8   and/or failures to act by each Defendant acting individually, jointly and severally.
   9            12.    By this Complaint, Plaintiff brings this case as a representative action seeking penalties
  10   for the State of California in a representative capacity, as provided by the Private Attorneys General Act
 11    ("PAGA") to the 'extent permitted by law, as an aggrieved employee who were subject to certain
 12    violations of the law as enumerated by this Complaint.
 13             13.    Plaintiff brings this class action and seeks certification of the claims and certain issues

 14    in this action on behalf of a Class defined as: all persons who have worked for MARRIOTT who were
 15    subjected to individual wage and hour violations, during the period within four years from the filing of

 16    this Complaint and continuing through trial.

 17             14.    Plaintiff reserves the right to amend the Class definition if further investigation and

 18    discovery indicates that the Class definition should be narrowed, expanded, or otherwise modified.

 19    Excluded from the Class are governmental entities, Defendant, any entity in which Defendant has a

 20    controlling interest, and Defendant's officers, directors, affiliates, legal representatives, employees, co-

 21    conspirators, successors, subsidiaries, and assigns. Also excluded from the Class is any judge, justice,

 22    or judicial officer presiding over this matter and the member of their immediate families and judicial

 23    staff.

 24             15.   All members of the Class and any subclass were and are similarly affected by labor code

 25    violations by Defendant, and the relief sought herein is for the benefit of Plaintiff and member of the

 26    Class and any subclass.

 27             16.   Plaintiff will fairly and adequately represent and protect the interests of the members of

 28    the Class.



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      1             17.     A true and correct copy of the Notice correspondence showing compliance with the
      2     Labor Code §2699.3 is attached as Exhibit "A" and demonstrates that Plaintiff is an aggrieved employee
      3     and has standing to bring a representative action on behalf of the State of California Labor and
      4     WOrkforce Development Agency (LWDA) and as a private attorney general. No notice of cure by
      5. Defendant was provided and no notice of investigation was received from the LWDA in the statutorily
      6 .proscribed 60-day period since the submission of the notice of the action. Accordingly, Plaintiff files
      7    this action as a "Representative Action" as provided by California Code of. Civil Procedure as
      .8   specifically permitted and authorized by Labor Code §2699.3(a)(2)(C).
      9
     10                     ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER
     11            18.     Plaintiffs are informed and believe, and based thereon alleges, that there exists such a
     12    unity of interest and ownership between MARRIOTT and DOES 1-20 that the individuality and.
     13    separateness of defendants have ceased to exist.
     14            19.     Plaintiffs are informed and believe, and based thereon alleges, that despite the formation
 .
     15    of purported corporate existence, MARRIOTT and DOES 1-20 are, in reality, one and the same as

     16    MARRIOTT, including, but not limited to because:

     17                    a.     MARRIOTT is completely dominated and controlled by DOES 1-20, who

     18    personally committed the frauds and violated the laws as set forth in this complaint, and who have

 19        hidden and currently hide behind MARRIOTT to perpetrate frauds, circumvent statutes, or accomplish

 20        some other wrongful or inequitable purpose.

 21                        b.     DOES .1-20 derive actual and significant monetary benefits by and through

 22        MARRIOTT unlawful conduct, and by using MARRIOTT as the funding source for their own personal

 23        expenditures.

 24                        c.     MARRIOTT and DOES 1-20, while really one and the same, were segregated to

 25        appear as though separate and distinct for purposes of perpetrating a fraud, circumventing a statute, or

 26        accomplishing some other wrongful or inequitable purpose.

 27                        d.     MARRIOTT does not comply with all requisite corporate formalities to maintain

 28        a legal and separate corporate existence.



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      1                   e.      The business affairs of MARRIOTT and DOES 1-20 are, and at all times relevant
           were; so mixed and intermingled that the same-cannot reasonably be segregated, and the same are in
      3    inextricable confusion. MARRIOTT is, and at all times relevant hereto was, used by DOES 1-20 as a
      4    mere shell and conduit for the conduct of certain of MARRIOTT's affairs, and is, and was, the alter ego
      5    of DOES 1.20. The recognition of the separate existence of MARRIOTIn would not promote justice, in
      6    that it would permit MARRIOTT to insulate themselves from liability to Plaintiffs for violations of the
   7       Government Code and other statutory violations. The corporate existence of MARRIOTT and DOES 1-
   8      20 should be disregarded in equity and for the ends of justice because such disregard is necessary to
   9      avoid fraud and injustice to Plaintiffs herein.
  10              20.    Accordingly, MARRIOTT constitutes the alter ego of DOES 1-20, and the fiction of
  11      their separate corporate existence must be disregarded.
 12               21.    As a result of the aforementioned facts, Plaintiffs are informed and believes, and based
  13      thereon alleges that MARRIOTT and DOES 1-20 are Plaintiffs' joint employers by virtue of a joint
  14      enterprise, and that Plaintiffs were employees of MARRIOTT and DOES 1-20. Plaintiffs performed
 15       services for each and every one of Defendants, and to the mutual benefit of all Defendants, and all

 16       Defendants shared control of Plaintiffs as employees, either directly or indirectly, and the manner in
 17       whiCh MARRIOTT's business was and is conducted.

 18              22.     Alternatively, Plaintiffs are informed and believe and, based thereupon allege, that as

 19       and between DOES 1-20 and MARRIOTT, (1) there is an express or implied agreement of assumption

 20       pursuant to which DOES 1-20 agreed to be liable for the debts of MARRIOTT, (2) the transaction

 21       between DOES 1-20, and MARRIOTT amounts to a consolidation or merger of the two corporations,

 22       (3) DOES 1-20 is a mere continuation of MARRIOTT, or (4) the transfer of assets to DOES 1-20 is for

 23       the fraudulent purpose of escaping liability for MARRIOTT's debts. Accordingly, DOES 1-20 are the

 24       successors of MARRIOTT, and are liable on that basis.

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 28



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      1                                           FACTUAL ALLEGATIONS
      2              23.    During all, or a portion, of the one-year period before Plaintiffs filed Notices of their
      3    claims with the LWDA, Plaintiffs and each of the aggrieved employees seek to represent were employed
   4       by Defendants and each of them, in the State of California.
      5              24.   California Labor Code section 204 provides that all wages earned are due payable at least
   6       twice each month, and section 1194 provides that notwithstanding any agreement to work for a lesser
   7       wage, an employee receiving less than the minimum wage is entitled to recover in a civil action the
   8       unpaid balance of their minimum wages, including interest thereon, reasonable attorney's fees, and costs
   9      of suit,
  10                 25.    Plaintiffs and each aggrieved employees were non-exempt employees covered under
  11      one or more Industrial Welfare Commission (IWC) Wage Orders, including 5-2001 ("Wage Orders"),
  12      and Labor Code Section 1182.12, 1194, 1194.2, 1197, and/or other applicable wage orders, regulations
  13      and statutes, and were not subject to an exemption for executive, administrative, professional
  14      employees, or any other exemption, which imposed an obligation on the part of the Defendants to pay
  15      Plaintiffs and each aggrieved employees lawful compensation, including payment of minimum wages.
 16       Defendants were obligated to pay Plaintiffs and the aggrieved employees compensation for all hours
 17       worked. At all relevant times, Defendants employed 26 or more employees.
 18                  26.   Defendants required the Plaintiffs and aggrieved employees to work regular wages but
 19       did not pay lawful wages, in violation of the various above applicable Wage Orders, regulations,

 20       statutes, and ordinances.
 21               27.      Labor Code section 226.7 provides that an employer shall not require an employee to
 22       work during a rest or recovery period mandated pursuant to an applicable statute, or applicable
 23       regulation, standard, or order of the Industrial Welfare Commission.

 24              28.       Plaintiffs and each aggrieved employee were non-exempt employees covered under one

 25       or more Industrial Welfare Commission (IWC) Wage Orders, including 5:2001 ("Wage Orders"), and

 26       Labor Code Sections 226.7, 512," and/or other applicable wage orders, regulations and statutes, and were

 27       not subject to an exemption for executive, administrative, professional employees, or any other

 28       exemption, which imposed an obligation on. the part of the Defendants to pay Plaintiffs and each




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  1    aggrieved employee lawful compensation. The IWC Wage Order No. 5-2001 provides that "the
  2    authorized rest period time shall be based on the total hours worked daily at the rate of ten (10) minutes
  3    net rest time per four (4) hours or major fraction thereof."
  4           29.     Defendants required the Plaintiffs and aggrieved employees to work through their rest
  5    brealcs but did not .pay lawful wages, in violation of the various above applicable Wage Orders,
  6    regulations, statutes, and ordinances.
  7           30.     Defendants were obligated to pay Plaintiffs and the aggrieved employees one (1) hour's
  8   compensation for each rest and meal period interrupted or not provided to them. Defendants failed to
  9   pay all missed rest and meal period compensation due.
 10           31.     Defendants, and each of them, consistently violated Labor Code §226 by failing to
 11   provide Plaintiff and members of the aggrieved employees accurate, itemized wage statements.
 12           32.     Business and Professions Code, section 17203, provided that any person who engages in
 13 • unfair competition may be enjoined in any court of competent jurisdiction. Business and Professions
 14   Code, section 17204 provide's that any person who has suffered actual injury ,and has lost money or

 15   property as a result of the unfair competition may bring an action in a court of competent jurisdiction.

 16           33.     Plaintiffs reserve the right to amend of modify the definitions of aggrieved employees

 17   with respect to issues or in any other way.

 18
 19                                         FIRST CAUSE OF ACTION

 20                                      FOR FAILURE TO PAY WAGES DUE

 21                                          LABOR CODE 0201, 226.7

22                       AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE

23            34,     Plaintiffs re-allege and incorporates by reference Paragraphs 1 through 33, inclusive, as

24    though set forth in full herein.

25            35.     At all relevant times, Defendants failed and refused to pay Plaintiffs wages earned and

26    required by 8 Code of Regulations §11090, as set forth hereinabove. As alleged herein, Defendants

27    routinely failed to pay Plaintiffs and other aggrieved employees minimum wages, overtime wages,

28



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      1    compensation for missed rest and meal breaks and failed to pay wages for unused vacation time and
   2       sick leave.
   3              36.     As alleged herein, Plaintiffs were not exempt from the requirements of Labor Code §51Q,
   4       8 Code of Regulations §11090, and Industrial Welfare Commission Order No. 5-2001.
   5              37.      Plaintiffs have been deprived of Plaintiffs' rightfully earned compensation as a direct
  6        and proximate result of Defendants' failure and refusal to pay said compensation. Plaintiffs are entitled
  7        to recover such amounts, plus interest thereon, attorneys' fees and costs.
  8
  9                                            SECOND CAUSE OF ACTION
 10                                   FOR FAILURE TO PROVIDE REST BREAKS
 11                                                LABOR CODE .6&226.7
 12                           AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE
 13               38.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 33, inclusive, as
 14       though set forth in full herein.
 15               39.     Labor Code §226.7 requires an employer to provide every employee with an
 16       uninterrupted rest period of not less than 10 minutes, for every period worked in excess of four hours.
 17               40.     Defendants failed and refused to provide Plaintiffs with uninterrupted rest periods, and
 18       failed to compensate Plaintiffs for missed rest periods, as required by Labor Code §§226.7 and the
 19       applicable sections of 8 Code of Regulations §11090 and Industrial Welfare Commission Order No. 5-
 20       2001, as follows.

 21             , 41.    Plaintiffs have been deprived of wages for missed rest breaks due in- amounts to be

 22       determined at trial.

 23              42.     As alleged herein, Plaintiffs are not exempt from the rest break requirements of 8 Code

 24       of Regulations §11090 and Industrial Welfare Commission Order No. 5-200.1. Consequently, Plaintiffs

 25       are owed one hour of pay at their then regular hourly rate, or the requisite minimum wage, whichever

 26       is greater, for each day that they were denied such rest periods.

 27              43.     Plaintiffs have been deprived of their rightfully earned compensation for rest breaks as

 28       a direct and proximate result of Defendants' failure and refusal to pay said compensation.



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      1               44.    Thus, for the entirety of the time periods set forth above, Plaintiffs are entitled to recover
      2    such amounts to be determined at trial pursuant to Labor Code §226.7(b), plus interest thereon and costs
      3    of suit.
      4                                             THIRD CAUSE OF ACTION
   5                   FOR FAILURE TO PROVIDE ITEMIZED WAGE AND HOUR STATEMENTS
   6                                               LABOR CODE 44226 ET SEQ.
   7                            AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE
   8                -45.    Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 33, inclusive, as

   9       though set forth in full herein.

  10                  46.   Pursuant to Labor Code §§226 and 1174, employers have a duty to provide their non-
  11      exempt employees with itemized statements showing total hours worked, hourly wages, gross wages,
  12      total deductions and net wages earned. An employer who violates these code sections is liable to its

  13      employees for the greater of actual damages suffered by the employee, or $50.00 in civil penalties for

  14      the initial pay period in which a violation occurred, and $100.00 per employee for each subsequent pay
  15      period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code §226(e)(2), an employee is

  16      deemed to suffer injury for purposes of this subdivision if the employer fails to provide a wage statement

  17      at all.

  18                47.     In addition thereto, pursuant to Labor Code §226.3, an employer who willfully violates

 19       Labor Code §226 is subject to a $250.00 civil penalty for.the initial pay period in which a violation

 20       occurred, and $1,000.00 per employee for each subsequent pay period, with no maximum.

 21                 48.     At all relevant times, Defendants failed to provide the Plaintiffs with timely and accurate

 22       wage and hour statements showing gross wages earned, total hours worked, all deductions made, net

 23       wages earned, the name and address of the legal entity employing Plaintiffs and all applicable hours and

 24       rates in effect during each pay period and the corresponding number of hours worked at each hourly

 25       rate by Plaintiffs. Not one of the paystubs that Plaintiffs received complied with Labor Code §226, and

 26       contained almost none of the required information, including hours actually worked and compensation

 27       for missed rest periods.

 28                 49.     As alleged herein, Plaintiffs are not exempt from the requirements of Labor Code §226.



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      1            50.     This failure has injured Plaintiffs by misrepresenting and depriving them of hour, wage,
      2    and earnings information to which each of them is entitled, causing each of them difficulty and expense
      3    in attempting to reconstruct time and pay records, causing each of them not to be paid wages they are
  .4       entitled to, causing each of them to be unable to rely on earnings statements in dealings with third
   5       parties, eviscerating their right under Labor Code §226(b) to review itemized wage statement
   6       information by inspecting the employer's underlying records, and deceiving them regarding their
   7       entitlement to rest period wages. For the time periods that Plaintiffs were not provided with paystubs
   8      at all, their aforementioned injuries are presumed as a matter of law.
   9              51.     Plaintiffs were paid on a bi-weekly basis, and therefore Defendants violated Labof Code
  10      §226 numerous times during the last year that Plaintiffs. Consequently, Defendants are liable to
  11      Plaintiffs for each of their actual damages, or penalties in the statutory maximum amount of $4,000.00,
  12      whichever is greater.
 13               52.     In addition thereto, Plaintiffs are each entitled to civil penalties pursuant to Labor Code
 14       §226.3 in the amount to be determined at trial.
 15               53.     Based on Defendant's conduct as alleged herein, Defendant is liable for damages and

 16       statutory penalties pursuant to Labor Code §226, civil penalties pursuant to Labor Code §226.3, and

 17       other applicable provisions, as well as attorneys! fees and costs.

 18
 19                                           FOURTH CAUSE OF ACTION

 20                                    FOR PRIVATE ATTORNEY GENERAL ACT

 21                                                 LABOR CODE 62699

 22                             AGAINST DEFENDANTS AND DOES 1-20, INCLUSIVE

 23               54.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 53, inclusive, as

 24       though set forth in full herein.

 25               55.    Under Labor Code §2699, Plaintiffs, as aggrieved employees, may bring an action

 26       against Defendants, on behalf of themselves and other current or former employees, seeking statutory

 27       civil penalties for Defendants' violations of the California Labor Code.

 28



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      1            56.     Plaintiffs were aggrieved employees, within the- meaning of Labor Code §2699(a) and
      2    2699.3(a), as Defendants have committed multiple California Labor Code violations against him, as
      3    previously pleaded in this Complaint.
      4            57.    On May 24, 2018, more than 60 calendar days before filing this Complaint, Plaintiffs
      5    provided written notice by online filing to the Labor and Workforce Development Agency and to
      6    Defendants of the specific provisions of the California Labor Code that Defendants violated, thereby
  7        satisfying the requirements of Labor Code §2699.3(a). These violations included Labor Code §§ 226,
  8        227.3, 246, 226.7, 512, 1182.12, 1194, 1194.2, 1197, each of which is enumerated among the serious
  9        violations set forth in Labor Code §2699.5. Attached herein as Exhibit "1" and incorporated herein by
 10        this reference is a true and correct copy of Plaintiffs' Private Attorney General Act notice.
 11               58.     Under Labor Code §2699.3(c)(2)(A), Defendants may cure alleged violations within 33
 12       calendar days of the postmarked date of the written notice sent by Plaintiffs. As of the filing of this
 13       Complaint, Defendants have not cured such violations within the specified time period. Consequently,

 14       Plaintiffs may now commence a civil action, pursuant to Labor Code §2699.3

 15               59.     As Of the filing of this Complaint, Plaintiffs have not received any response from the

 16       Labor and Workforce Development Agency on its intent to pursue an action against Defendants.

 17       Consequently, Plaintiffs may now commence a civil action, pursuant to Labor.Code §2699.3. '

 18               60.     As a direct and proximate result of Defendants' California Labor Code violations as set

 19       forth in this Complaint, Plaintiffs are entitled to civil penalties of $100 for each aggrieved employee per

 20       pay period for the initial violation, and $200 for each aggrieved employee per pay period for each

 21       subsequent violation, pursuant to Labor Code §2699(f), for those Labor Code sections not expressly

 22       providing for a penalty, and civil penalties provided by the specific Labor Code sections that do

 23       expressly provide for a penalty, §§226, 226.3, and 226.7.

 24               61.    Plaintiffs, as personal representatives of the general public, will and do seek to recover

 25       any and all penalties for each and every violation shown to exist or to have occurred during the one year

 26       period before Plaintiffs filed Notice with the LWDA of their intent to bring this action, in an amount

 27       according to proof, as to those penalties that are otherwise only available to public agency enforcement

 28       actions. Funds recovered will be distributed in accordance with the PAGA, with at least 75% of the



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      1    penalties recovered being reimbursed to the State of. California and the Labor and Workforce
   2       Development Agency. Plaintiffs are also entitled to reasonable attorney's fees and costs, and 25% of
   3       the recovered civil penalties, pursuant to Labor Code §§2699(g)(1)-(i).
   4
   5                                            FIFTH CAUSE OF ACTION
   6                                           FOR UNFAIR COMPETITION
   7                             BUSINESS & PROFESSIONS CODE 017200, ET SEQ.
   8                         AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE
   9              62.     Plaintiffs re-allege and incorporate by reference Paragraphs 1 through 61, inclusive, as
  10      though set forth in full herein.
  11              63.     Defendants' violations of 8 Code of Regulations §11090, Industrial Welfare
 12       Commission Order No. 5-2001, Labor Code §§226, 226.7, 227.3, 246, 512, 1182.12, 1194, 1194.2,
  13      1197, 2699, and other applicable provisions, as alleged herein, including Defendants' failure and refusal
 14       to provide wages for missed rest break compensation, Defendants' failure to provide timely and accurate
 15       wage and hour statements and Defendants' failure to maintain complete and accurate payroll records
 16       for the Plaintiffs, constitute unfair business practices in violation of Business & Professions Code
 17       §§17200, et seq.
 18               64.    As a result of Defendants' unfair business practices, Defendants have reaped unfair
 19       benefits and illegal profits at the expense of Plaintiffs and members of the public: Defendants should
 20       be made to disgorge their ill-gotten gains and restore such monies to Plaintiffs.

 21               65.    Defendants' unfair business practices entitle Plaintiffs to seek preliminary and
 22       permanent injunctive relief, including but not limited to orders that 'the Defendants account for,

 23       disgorge, and restore to the Plaintiffs the monies and benefits unlaWfully withheld from Plaintiffs.

 24
 25                                               PRAYER FOR RELIEF

 26       WHEREFORE, Plaintiffs seek judgment against Defendants and each of them, in an amount according

 27       to proof but estimated to be no less than an amount according to proof:

 28              1. For failure to pay wages due pursuant to Labor Code §§226.7, 227.3, 246, 512,



                                                             -13-
                                                 COMPLAINT FOR DAMAGES
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 71 of 94 Page ID #:83




      1    1182.12, 1194, 1194.2, 1197 and Indistrial Welfare Commission Order No. 5-2001, and 8. Code of
  2        Regulations §11090, in the amount according to proof;
  3               2.     For statutory penalties or damages pursuant but not limited to Labor Code §558(a) in the
  4        amount according to proof;
  5               3.     For payment of rest period compensation pursuant to Labor Code §§226.7 and 512 in
  6       the amount according to proof;
  7.              4.     For damages pursuant to Labor Code §226 in the amount according to proof;
  8               5.     For statutory penalties or damages pursuant to Labor Code §226.3 in the amount
  9       according to proof;
 10               6.     For statutory penalties pursuant to Labor Code §2699(f), in the amount in the amount
 11       according to proof on Plaintiffs' own behalf, and similar amounts on behalf of all of Defendants'
 12       aggrieved employees;
 13               7.     For prejudgment interest on each of the foregoing at the legal rate from the date the
 14       obligation became due through the date of judgment in this matter;
 15       WHEREFORE, Plaintiffs further seek judgment against Defendants, and each of them, in an amount
 16       according to proof, as follows:
 17               8.     For restitutionaty disgorgement of profits garnered as a result of Defendants' unlawful
 18       conduct, failure to pay wages and other compensation in accordance with the law;
 19              9.      For costs of suit, attorneys' fees, and expert witness fees pursuant to the Labor Code,
 20       and/or any other basis;
 21              10.     For post-judgment interest; and
 22              11.     For any other relief that is just and proper.

 23
          DATED: August 21, 2018                              LAW OFFICES_OFRAMIN R. YO                  ESSI
 24                                                           A PROFESSIONAL LAW CORP                    TION
 25
 26
                                                                     Ramin R. Younessi, Esq.
 27                                                                  Attorney for Plaintiffs,
                                                                     BLANCA ARGELIA ARIAS
 28                                                                  individually and on behalf of herself
                                                                     and others similarly situated


                                                              -14-
                                                 COMPLAINT FOR DAMAGES
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 72 of 94 Page ID #:84




      1
                                                 JURY TRIAL DEMANDED
      2
          Plaintiff demands trial of all issues by jury.
     3
      4   DATED: August 21, 2018                            LAW OFFICES OF RAMIN R. Y I UNESSI
                                                            A PROFESSIONAL, LAW CO ORATION
  5
  6
                                                            B •
  7                                                                    n      ounessi, Esq.
                                                                  Attorney for Plaintiffs,
  8                                                               BLANCA ARGELIA ARIAS
                                                                  individually and on behalf of herself
  9                                                               and others similarly situated
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                                                 COMPLAINT FOR. DAMAGES
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 73 of 94 Page ID #:85




                                                                                                                                                                          C M.
   ,,,,TTO A NEY OR PARPf 4NITFOLIT ATTO FINEYfilv no. Stain Her numae 4 and odlm-331:                                                    FOR COURT USE ONLY
  — Ramin R. Youncssi, Esq. (SBri 175020)
     Law Offices ofRernin R. Youncssi A.P.L.C.
     3435 Wilshire Boulevard, Suite 2200                                                                                             CONFORMED CORY.''.
     Los Angeles, California 90010                                                                                                     OFIIG1NAL FILED
           TELEPHONE NO:    (213) 480-6200             rAx ko: (213) 480-6201                                                        Superior Court of Calitornla
                                                                                                                                              . -. I -*: ,, i—
    ATTORNEY FOR ffentloP   rlaintiff, Blanca Argelia Aria s                                                                                   "'"
  sUPERIOR COURT oF CALIFORNIA, CO UNTY OF Los Angeles
       STR EFT ADDRESS; 111 N. Hill St.                                                                                                    AUG 23 2018
       ramusoAaoans: same as above
      CrrY AND ZIP COOE: Los Angeles, CA 90012                                                                            Sheiti H. Carter, Executive UltrPultletkolC,o
          efuricJi ivitsis: Central -District                                                                                     By: Brtttny Smttti, Deputy
    CASE NAME;
     Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.
        CIVIL CASE COVER SHEET                Complex Case Designation
                                                                                                                        C.A.SE NUBC 7          1907 3
  ifflig Unlimited   1:2 Limited
          (Amount                (Amount                      Counter               Joinder
                                                                                                       laces,
          demanded               demanded Is           Filed with first appearance by defendant
          exceeds $25,000)       $25,000 or less)           (Cal. Rules  of Court, rule 3.402)          Dan:
                                     items 1-6 be ow must be completed (see instructlons on page 2).
 1. Check one box below for the case type that best describes this case:
    'Auto Tort                                        Contract                                 Provisionally Complex Clvil litigation
           Auto (22)                                  1 J Breach of contract/warranty (08) (Cal. Rules of Court, rules 3.400-.3A03)
           Uninsured motorist (48)                    I 1 Rule 3.740 collections (05)                Antitrust/Trade regulaUon (03)
    Other PUPONVD (Personal Injury/Property                 Other collecUons (09)             1 1 Construction defect (10)
    DamagelWrorigful Death) Tort                      1=1 Insufance coverage (18)              = Mass tort (40)
          Asbestos (04)                                                                              Securities litigation (28)
                                                      C] Other contract (37)
    1:71 Product !lability (24)
     =    Medical malpractice (45)
                                                      Real Property
                                                            Eminent domeintiverse
                                                            condemnation (14)
                                                                                                     EnvIronmentalfroxlc tort (30)
                                                                                                     Insurance coverage claims arising from the
    I= Other PI/PD/WD (23)                                                                           above listed provisionally complex case

     a
    Non431/PDIWD (Other) Tort                         E3 Wrongful eviction (33)
          Business tort/unfalr business practice (07) 0 Other mai properly (20)
          Civil rights (08)                           Unlawful Detainer
                                                                                                     types (41)
                                                                                               Snforc affront of Judgment
                                                                                                               1-1
                                                                                                    Enlorcernent of judgment (20)
     1    1Defamation (13)                       tEl Commercial (31)                  Miscellaneous Civil Complaint

     =
     1 1
           Fraud (16)
           Intellectual property (19)
           Professional negligence (25)
                                                      Residential (32)
                                                      Drugs (33)
                                                Judicial Review
                                                                                      Eli RICO (27)
                                                                                        i                      r
                                                                                            Other complaint (not specified above) (42)
                                                                                      Miscellaneous Civil Petition
     El    Other non-PlfPD/WD tort (35)         0 Asset forfeiture (05)
                                                                                           Partnership end corporate governance (21)
      Employment                                n Petition re: arbitration award (11)      Other petition (not spacitren above) (43)
           VVrengful termination (30)           n Writ or mandate (02)
     I-1Other employment (15)                   1-1 Other judicial review (39)
2. Tills case I I I is    I- I is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management
     a.
      ED    Large-number of separately represented parties        d. =Large number of witnesses
      b. El Extensive motion practice raising difficult or novel                          e.1:::] Coordination with related actions pending in one or mom courts
            issues that willte time-consuming to resolve                                          in other counties, states, or countries, or in a federal court •
      c EI Substantial amount of documentary evidence                                     f. tEl Substantial postjudgment judicial supervision__.._-----)
                                                                                                                                             ,- -
3. Remedies sought (check all that apply): a.© monetary                                  b.E=1 nonmonetary; declaratory or in.junctiveielial        c. riptin(tive
4. Number of causes of action (specify): Five (5)                                                                                                                       /
5. This case = Is ED is not a class action suit.
6. Inhere are any known related cases, file and serve a notice of related case. (Youp74y use form CM-015.)
Date: August 21, 2018
Ramin R. Younessi, Esq.
                                  (r(PE   R MINT NA1 E1                                                       (SIGN.ATI.JRE OF PART/ OR ATTORNEY FOR P
                                                                                         NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases fled
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal, Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule,
  o If this case is complex under rule 3.400 et seq. of the California Rules of Court you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                           nta tor 7
Form Aclopied to     411ary Use                                                                                            Ca FA4a: of Cart rules 2.25, 3_220, 3.400-a cal, 3.744
  Judas.' C.40(1/ or Car'an la
                                                                  CIVIL CASE COVER SHEET                                        Ccd Stanscrdsat .       el Admil'strutic n, Ltd. 3.10
  CM-010 (Rey. Jury 1.20071                                                                                                                                  www,caurlirVo.ca.gov
 Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 74 of 94 Page ID #:86




                                                                                                                                              CM-010
                                           INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffa and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
   complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
   statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must .check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicatet the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
  owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The,identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 Complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiff's designation, a 'counter-designation that the case Is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                              CASE TYPES AND EXAMPLES
 Auto Tort                                          Contract                                          Provisionally Complex Civil Litigation (Cal.
        Auto (22)-Personal Injury/Property              Breach of ContractNVerranty (06)              Rules of Court Rules 3.400-3.403)
             Damage/Wrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                          Contract (not unlawful detainer             Construction Defect (10)
             case involves an uninsured                             or wrongful eviction)                   Claims Involving Mass Tort (40)
             motorist claim subject to                      Contract/Warranty Breach-Seller                 Securities Litigation (28)
             arbitration, chock this Item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
             instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
 Other PIIPD/WD (Personal Injuryf                               Warranty                                        (arising from provisionally complex
 Property Damage/Wrongful Death)                            Other Breach of ContraciNVarranty                    case type listed above) (41)
 Tort                                                  Collections (e.g., money owed. open              Enforcement of Judgment
       Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
             Asbestos Property Damage                       Collection Case-Seller Plaintiff                     Abstract of Judgment (Out of
             Asbestos Personal Injury!                      0/her Promissory Note/Collections                         County)
                  Wrongful Death                                Case                                            Confession of Judgment (non-
       Product Liability (not asbestos or              Insurance Coverage (not provisionally                          domestic relations)
            toxic/environmental) (24)                       complex) (16)                                       Sister State Judgment
       Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
            Medical Malpractice-                            Other Coverage                                          (not unpaid taxes)
                  Physicians & Surgeons                Other Contract (37)                                      Petition/Certification of Entry of
            Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                  Malpractice                               Other Contract Dispute                              Other Enforcement of Judgment
                                                   Real Proporty                                                      Case
       Other PI/POAND (23)
            Premises Liability (e.g., slip             Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                  and fall)                                 Condemnation (14)                              RICO (27)
            Intentional Bodily InjuryfPD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                                above) (42)
                  (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
            Intentional Infliction of                                                                           Declaratory Relief Only
                                                           Writ of Possession of Real Property                  injunctive Relief Only (non-
                  Emotional Distress                       Mortgage Foreclosure                                       harassment)
            Negligent Infliction of                        Quiet Title
                  Emotional Distress                                                                            Mechanics Lien
                                                           Other Real Property (not eminent                     Other Commercial Complaint
            Other PI/PD/WO                                 domain, landlord/tenant, or
                                                                                                                      Case (non-tort/non-complex)
Non-PI/PM/VD (Other) Tort                                  foreclosure)
                                                                                                               Other Civil Complaint
      Business Tort/Unfair Business                Unlawful Detainer                                                 (non-tort/non-complex)
          Practice (07)                               Commercial (31)                                  Miscellaneous Civil Petition
    . Civil Rights (e.g.. discrimination.             Residential (32)                                     Partnership and Corporate
           false arrest) (not civil                   Drugs (38) (if the case involves illegal                  Governance (21)
           harassment) (08)                                drugs, check this item; otherwise,              Other Petition (not specified
      Defamation (e.g.. slander, libel)                    report as Commercial or Residential)                above) (43)
             (13)                                  Judicial Rovlow                                             Civil Harassment
      Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
      Intellectual Property (19)                      Petition Re: Arbitration Award (11) •                    Elder/Dependent Adult
      Professional Negligence (25)                    Wril of Mandate (02)                                            Abuse
          Legal Malpractice                                Writ-Administrative Mandamus                        Election Contest
          Other Professional Malpractice                   Writ-Mandamus on Limited Court                      Petition for Name Change
               (not medical or legal)                          Case Matter                                     Petition for Relief From Late
       Other Non-Pl/PD/WD Tort (35)                        Writ-Other Limited Court Case                              Claim
Employment                                                    Review                                           Other Civil Petition
      Wrongful Termination (36)                       Other Judicial Review (39)
      Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                              Commissioner Appeals
CM.010 Rev. July 1, 20071                                                                                                                     Page 2 or
                                                      CIVIL CASE COVER SHEET
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 75 of 94 Page ID #:87




   SHORT TITLE_                                                                                                             CASE NUMBER
                                                                                                                                                 BC21907
              War=         Argelia Arias v. Residence Inn By Marriott, LLC, et al.


                                  CIVIL CASE COVER SHEET ADDENDUM AND
                                          STATEMENT OF LOCATION
                   (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form Is required pursuant to Local Rule 2.3 In all new civil case filings in the Los Angeles Superior Court.



       Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                     Column       A that corresponds to the case type indicated in the Civil Case Cover Sheet.


       Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

       Step 3: in Column C, circle the number which explains the reason for the court filing location you have
                     chosen.

                                             Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.                            7. Location where pettlionerrealdes.
2. Permissive filing in central district.                                                                  9. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                                   9. LOcallon where one or more of the partKis reside.
4 Mandatory personal Injury filing In North District.                                                     10. Location of Labor Commissioner Office,
                                                                                                          11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location vtlere performance required or defendant resides.
                                                                                                          non-collection, limited collection, or personal Injury).
6. Location of property or permanently garaged vehicle.




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               f
                               Auto (22)                    Cl A7100 Motor Vehicia - Personal InJury/Property DamageNVrongful Death                           1, 4, 11

                      Uninsured Motorist (46)               Cl A7110 • Personal Injury/Property DamageNVrongful Death— Uninsured Motorist                     1, 4, 11


                                                           Cl A6070 Asbestos Property Damage                                                                  1.11
                           Asbestos (04)
                                                            Cl A7221 Asbestos • Personal InjuryNVrongful Death                                               1.11
   f,  0
   a. 0—                Product Liability (24)             Cl A7260 Product Liability (not asbestos or tmdc/environmenial)                                   1, 4, 11
   a. .=
                                                           Cl A7210 Medical Malpractice- Physicians & Surgeons                                                1, 4.11
                     Medical Malpractice (45)                                                                                                                 1 4,11
                                                           0 A7240 Other Professional Health Care Malpractice
   o
   o   g
                                                           0 A7250 Premises Liability (e.g., slip and fall)                                                  1. 4, 11
  c71 rn                   Other Personal
                                                           0 A7230 Intentional Bodily Injury/Property DarnageMrongful Death (e.g.,
                           Injury Properly                                                                                                                    1.4, 11
  .a to                  Damage Wrongful                                     assault, vandalism, etc.)
  '6                       Death (23)                      0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                              1, 4,11
                                                                                                                                                              1, 4, 11
                                                           0 A7220 Other Personal Injury/Properly DamagerWrongfut Death




  LACIV 109 (Rev 2/16)                                 CIVIL CASE COVER SHEET ADDENDUM                                                                    Local Rule 23
  LASC Approved 03.04                                     AND STATEMENT OF LOCATION                                                                         Page 1 of 4
 Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 76 of 94 Page ID #:88




SHORT TIRE:                                                                                                               CASE NUMBER
                           Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.

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                                       Business Tort (07)         0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)                         1, 2, 3

                                        Civil Rights (08)         0 A6065 Civil Rights/Discrimination                                                           1, 2, 3
  e O
  a 1                                  Defarnalinn (13)           0 A6010 Defamation (olendor/libel)                                                            1, 2, 3
  1,9
                      cn                   Fraud (16)             0 A6013 Fraud (no contract)                                                                   1, 2, 3
                      F2
                                                                  O    A6017 Legal Malpractice                                                                  1, 2, 3
   (Y)                       Professional Negligence (25)
                                                                 0 A6050 Other Professional Malpractice (not medical or legal)                                  1, 2, 3
  e E
  o
  z c
                                           Other (35)            0 A6025 Other Non-Personal Injury/Property Damage tort                                         1, 2, 3

                               Wrongful Termination (36)          0 A6037 Wrongful Termination                                                                  1, 2, 3
            al
                                                                 l     A6024 Other Employment Complaint Case                                                    1, 2, 3
                                 Other Employment (15)
                                                                 0 A6109 Labor Commissioner Appeals                                                             10

                                                                 0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                                2, 5
                                                                         eviction)
                             Breach of Contract/ Warranty                                                                                                       2, 5
                                         (06)                    0 A6008 ContractMerrenty Breach -Seller Plaintiff (no fraud/negligence)
                                   (not insurance)                                                                                                              1, 2, 5
                                                                 0 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                                1, 2, 5
                                                                 0 A6028 Other Breach of ContractNVarranly (not fraud or negligence)

                                                                 0 A6002 Collections Case-Seller Plaintiff                                                      5, 6, 11
                                       Collections (09)
                                                                 13 A6012 Other Promissory Note/Collections Case                                                5, 11
                                                                 0     A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                         5, 6, 11
                                                                             Purchased on or after January 1.20141

                               Insurance Coverage (18)           0 A6015 Insurance Coverage (not complex)                                                       1. 2, 5, 8

                                                                 0 A6009 Contractual Fraud                                                                      1, 2, 3, 5
                                   Other Contract (37)           0 A6031 Torlious Interference                                                                  1, 2. 3, 5
                                                                 0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                          1, 2, 3, 8, 9

                               Eminent Domain/Inverse
                                                                 0 A7300 Eminent Domain/Condemnation                        Number of parcels                   2.6
                                 Condemnation (14)

                                 Wrongful Eviction (33)          0 A6023 Wrongful Eviction Case                                                                 2, 6
    0
   a_
                                                                 0 A6018 Mortgage Foreclosure                                                                   2, 6
   tr                          Other Real Property (26)          0 A6032 Quiet Title                                                                           2, 6

                                                                O A6060 Other Real Property (not eminent domain, landlord/lenant, foreclosure)                 2,   6
                           Unlawful Detainer-Commercial                                                                                                        6, 11
                                                                0 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                       (31)
   UnlawfulDetainer




                           Unlawful Detainer-Residential                                                                                                       6, 11
                                                                13 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
                                       (32)
                                  Unlawful Detainer-                                                                                                           2, 6, 11
                                                                O A6020F Unlawful Detainer-Post-Foreclosure
                                 Post-Foreclosure (34) '

                           Unlawful Detainer-Drugs (38)         0 A6022 Unlawful Detainer-Drugs                                                                2, 6, 11                •



LACIV 109 (Rev 2/16)                                          CIVIL CASE COVER SHEET ADDENDUM                                                                Local Rule 2.3
LASC Approved 03-04                                              AND STATEMENT OF LOCATION                                                                     Page 2 of 4
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 77 of 94 Page ID #:89




SHORT TITLE:                                                                                                                                                 CASE NUMBER
                                        Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.

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                                               Asset Forfeiture (05)                          l3 A6108 Asset Forfeiture Case                                                                        2. 3, 6

                                             Petition re Arbitration (11)                     0 A6115 Petition to Compet/ConfirmNacate Arbitration                                                  2, 5
                       Review




                                                                                              0 A6151 Writ-Administrative Mandamus                                                                  2,8
               Judicial




                                               Writ of Mandate (02)                           0 A6152 Writ - Mandamus on Limited Court Case Matter                                                  2
                                                                                              0 A6153 Writ - Other Limited Court Case Review '                                                      2

                                          Other Judicial Review (39)                          0 A6150 Other Writ /Judicial Review                                                                   2, 8

                                        AntitrusVTrade Regulation (03)                        0 A6003 AntitrusUTrade Regulation                                                                     1, 2. 8
     Provisionally Complex Litigation




                                             Construction Defect (10)                        0 A6007 Construction Defect                                                                            1, 2, 3

                                          Claims Involving Mass Tort
                                                                                             0 A6006 Claims Involving Mass Tort                                                                     1, 2, 8
                                                     (40)

                                             Securities Litigation (28)                      0 A8035 Securities Litigation Case                                                                     1, 2, 8

                                                    Toxic Tort                                                                                                                                      1, 2, 3, 8
                                                                                             0 A6036 Toxic TorUEnvironmental
                                                Environmental (30)

                                         Insurance Coverage Claims                                                                                                                                  1, 2, 5, 8
                                                                                             0 A6014 Insurance Coverage/Subrogation (complex case only)
                                           from Complex Case (41)

                                                                                             0 A6141 Sister Slate Judgment                                                                          2, 5, 11
                                                                                             0 A6160 Abstract of Judgment                                                                           2, 6

                                                   Enforcement                               0 A6'107 Confession of Judgment (non-domestic relations)                                               2, 9
                                                 of Judgment (20)                            0 A6140 Administrative Agency Award (not unpaid taxes)                                                 2, 8

                                                                                             CI A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax                                      2, 8

                                                                                             0 A6112 Other Enforcement of Judgment Case                                                             2, 8, 9


                                                      RICO (27)                              0 A6033 Racketeering (RICO) Case                                                                       1, 2, 8
 CivilComplaints
  Miscellaneous




                                                                                             0 A6030 Declaratory Relief Only                                                                        1, 2, 8

                                                                                             0 A6040 Injunctive Relief Only (riot domesIldharassment)                                               2, 8
                                         '    Other Complaints    •
                                         (Not Specified Above) (42)                          0 A6011 Other Commercial Complaint Case (non-tort/non-Complex)                                         1, 2, 8

                                                                                             0 A6000 Other Civil Complaint (non-tort/non-complex)                                                   1. 2. 8

                                           Partnership Corporation                                                                                                                                 2, 8
                                                                                             0 A6113 Partnership and Corporate Governance Case
                                              Governance (21)

                                                                                             0 A6121 Civil Harassment                                    '                                         2. 3, 9
 Miscellaneous
 CivilPetitions




                                                                                             0 A6123 Workplace Harassment                                                                          2, 3, 9

                                                                                             0 A6124 Elder/Dependent Adult Abuse Case                                                              2.3. 9
                                               Other Petitions (Not                                                                                                                                                   •
                                              Specified Above) (43)                          0 A6190 Election Contest                                                                              2
                                                                                             0 A6110 Petition for Change of Name/Change of Gender                                                  2, 7 .
                                                                                             0 A6170 Petition for Relief from Late Claim Law                                                       2.3, 8
                                                                                             0 A6100 Other Civil Petition                                                                          2, 9




LACIV 109 (Rev 2/16)                                                                  CIVIL CASE COVER SHEET ADDENDUM                                                                          Local Rule 2.3
LASC Approved 03-04                                                                      AND STATEMENT OF LOCATION                                                                               Page 3 of 4
   Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 78 of 94 Page ID #:90




  SHORT TITLE:                                                                          CASE NUMBER
                 Blanca Argelia Arias v. Residence Inn By Marriott, LLC, et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes forthe numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip•code.
            (No address required for class action cases).

                                                                    ADDRESS:
    REASON:                                                         21 West Walnut Street
     17i1.1:2.D3.04.05.06.07.            0 a. 0 9.0 10..0 11.


   CITY:                                    STATE:     ZIP CODE

   Pasadena                                 CA         91103


Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                     District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., andLoCal kule 2.3(a)(1)(E)].




  Dated: August Id 2018
                                                                                    (SIGNATURE OF ATTORNEWFIUNG PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

        1. Original Complaint or Petition.
        2. If filing a Complaint,a completed Summons form for issuance by the Clerk.

        3. Civil Case Cover Sheet, Judicial Council form CM-010.

        4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
           02/16).

        5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

        6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

        7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
           must be served along with the summons and complaint, or other initiating pleading in the case.




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 LACIV 109 (Rev 2/18)                    CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
 LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                 Page 4 of 4
  Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 79 of 94 Page ID #:91


    •.                                                                                               Reserved far Glut'It s F4 10 Sump
                    SUPERIOR COURT OF CALIFORNIA
                      - COUNTY OF LOS ANGELES                                                           CONFORMED COPY
 COURTHOUSE ADDRESS:                                                                                          ORIGINAL FILED
                                                                                                         Suri F,,u ,1?1 Cal:f cs mla
 111 North Hill Street, LoS Angeles, CA 90012                                                               . .. ., , , i o s

                                                                                                              AUG 2 3 2018
                     NOTICE OF CASE ASSIGNMENT                                                 Sherri a Carter, Executive Ottaraerk of Court
                                                                                                       By: Brittny Sinith, Deputy
           UNLIMITED CIVIL - CLASS ACTION/COMPLEX

                                                                                      CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below.                      DC 719073
                             THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                   ASSIGNED JUDGE          DEPT     ROOM r,F,                      ASSIGNED JUDGE                       DEPT             ROOM
                                                         '';•tt.:
            Hon. Elihu M. Berle              6       211

            Hon. William F. Highberger       10        10     .c.-.1
                                                                   ,
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            Hon. John Shepard Wiley, Jr.     9         9
                                                               .k:,'.
   l'1.1    Hon. Kenneth Freeman             14        14     ',4;....
                                                                 •

            Hon. Ann Jones                   11        11      '''.::
                                                              t.'
            Hon. Maren E. Nelson             17        17     ..t.:.

            Hon. Carolyn B. Kuhl             12        12

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                                                                •..         Han. Brian S. Currey                             15               15
                                                                       .t   *Provisional complex (non-class                               Supervising
                                                                   -..,,.   action) case assignment pending                  14             Judge
               1                                                ...-;'-':   complex determination                                             14

    Given tottrititifffrgriomplainant/Attomey of Record                       SHERRI 12_ CARTER, Executive Officer/Clerk of Court

    on                                                                        By            1di                  5".14"                  Deputy Clerk
LACIV 190 (Rev 12117)          NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL. CASE
LASC Approved 05/06
       Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 80 of 94 Page ID #:92



                                       INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES
4

    The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
    for your assistance.

    APPLICATION
    The Divisiori 7 Rules were effective January I, 2007. They apply to all general civil cases.

    PRIORITY OVER OTHER RULES
    The Division 7 Rules shall have priority.over all other Local Rules to the extent Ihe others are inconsistent.

    CHALLENGE TO, ASSIGNED JUDGE
    A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes to
    a judge, or if a party has not yet appeared, within 15 days of the first appearance.

    TIME STANDARDS
    _Cases assigned to the Independeht•Calendaring Courts will be subject to processing under the following time standards:

    COMPLAINTS
    All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

    CROSS-COMPLAINTS
    Without leave.of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-complaints
    shall be served within 30.days of the Fling date and a proof of service filed within 60 days of the filing date.

    STATUS CONFERENCE
    A status conference will be scheduled by the assigned Independent Calendar Judge no later than .270 days after the filing of the
    complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial
    date, and expert witnesses.

    FINAL STATUS CONFERENCE
    The Court will require the palliest° attend a final status conference not more than 10 days before the scheduled trial date. All parties
    shall have motions in• limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested form jury
    instructions, special jury instructions, and special jury verdicts timely filed and served prior to the Conference. These matters may be
    heard and resolved at this conference. At least five days before this conference, counsel, must also have exchanged lists of exhibits
    and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required by Chapter Three
    of the Los Angeles Superior Court Rules.

    SANCTIONS
    The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
    and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party, or if
    appropriate, on counsel for a party.

     This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
     therefore not a gUarantee against the Imposition of sanctions under Trial Court Delay Reduction. Careful reading and
    .compliance with the actual Chapter Rules is imperative.

    Class Actions
    Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
    judge.atthe designated complex courthouse. If the case is found not to be a class action it will be returned to an independent Calendar
    Courtroom• for all purposes.

    4- Provisionally Complex Cases •
    Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of complex
    status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be randomly assigned
    to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be returned to an Independent
    Calendar Courtroom for all purposes.




    LACIV 190 (Rev 12/17)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
    LASC Approved 05/06
    Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 81 of 94 Page ID #:93




4


                                       VOLUNTARY EFFICIENT LITIGATION.STIPULATIONS


                                          The Early Organizational Meeting Stipdation, Discovery
                                       Resolution Stipulation, and Motions in Limine Stipulation are
       Superior Court of California.   voluntary stipulations entered into by the parties. The parties
       County of Los Angeles

                                       may enter into one, two, or all three of the stipulations;
                                       however, they may not alter the stipulations- as written,
         LAS BA                        because the Court wants to ensure uniformity of application.
       Los Angeles County
       Bar Association                 These stipulations are meant to encourage cooperation
       Litigation Section

       Los Angeles County
                                       between the parties and to assist . in resolving issues in a
       Bar Association Labor and
       Employment Law Section          manner that promotes economic case resolution and judicial
                                       efficiency.
                  •A 41.
                       0
                  a1LailagrTei•
                                           The       following   organizations   endorse   the   goal   of
       Consumer Attorneys
       Assbcfation of Los Angeles      promoting efficiency in litigation and -ask that counsel
                                       consider using these stipulations as a voluntary way to
                                       promote communications and procedures . among counsel
                                       and with the court to fairly resolve issues in their cases.

                                       *Los Angeles County Bar Association Litigation Section*
       Southern California
       Defense Counsel

                                                  • Los Angeles County Bar Association

       -releounbardrrurasmonirt
                                                     Labor and Employment Law Section*
                   t

       Association of
       Business Trial Lawyers              *Consumer Attorneys Association of Los Angeles*


                                                 *Southern California Defense Counsel*


                                                 *Association of Business Trial Lawyers*

       California Employment
       Lawyers Associat on
                                            *California Employment Lawyers Association*


           LACIV 230 (NEVV)
           LASC Approved 4-11
           For Optional Use
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 82 of 94 Page ID #:94




 NAME ANOMORESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER             Reserved rot Unify Ho Slarnp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 couR•rhc)USt AUUHESS:
 PLAINTIFF:


 DEFENDANT:


                                                                                          CASE NUM REFt

           STIPULATION — EARLY ORGANIZATIONAL MEETING

       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from. the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

              a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                 amendment as of right, or if the Court would allow leave to amend, could an amended
                 complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                 agree to work through pleading issues so that a demurrer need only raise issues they cannot
                 resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                 would some other type of motion be preferable? Could a voluntary targeted exchange of
                 documents or information by any party cure an uncertainty in the pleadings?

              b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                 employment case, the employment records, personnel file and documents relating to the
                 conduct in question could be considered "core." In a personal injury case, an incident or
                 police report, medical records, and repair or maintenance records could be considered
                 "core.");

              c. Exchange of names and contact information of witnesses;

              d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                 indemnify or reimburse for payments made to. satisfy a judgment;

              e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                 or resolution of the case in a manner that preserves objections or privileges by agreement;

              f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                 phases of the case. Also, when and how such issues can be presented to the Court;

              9.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                   court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                   and whether the parties wish to use a sitting judge or a private mediator or other options as
      IACIV 229 (Rev 02/15)
      LASC Approved 04/11             STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                   Page 1 of 2
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 83 of 94 Page ID #:95




    SHORT TITLE,                                                                       CASE NUMBER




                   discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                   complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

          i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
             www.lacourt.orq under "Civil' and then under "Genereil Information").

    2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                   to                         for the complaint, and                            for the cross-
                            (INSERT DATE)                                       (INSERT DATE)
                                                                                                                      •
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
              •been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at wwwiacourt.orq under "Civil",
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

    3.,            The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                   and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                   results of their meet and confer and advising the Court of any way it may assist the, parties'
                   efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                   the Case Management Conference statement, and file the documents when the CMC
                   statement• is due.

    4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for perfotming that act shall be extended to the next Court day

    The following parties stipulate:
    Date:

                      (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
    Date:

                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:


                     (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
    Date:

                      (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:

                     (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
    Date:

                     (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
    Date:


                     (TYPE OR PRINT NAME)                                  (ATTORNEY FOR


    LACIV 229 (Rev 02/15)
    LASC Approved 04111          STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 84 of 94 Page ID #:96




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             TELEPHONE NO.:                                         FAX NO. {Optional):
   E-MA,L. ADDRESS (Optional):
      ATTORNEY FOR (Warm]:
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:

                                                                                                    CASE NUMBER:

                         STIPULATION — DISCOVERY RESOLUTION

         This stipulation is intended to provide a fast and informal resolution of discovery issues
         through limited paperwork and an informal conference with the Court, to aid in the
         resolution of the issues.

         The parties agree that:

         1. Prior to the discovery cut-off in'this action, no discbvery motion shall be filed or heard unless
            the moving party first makes a written request for an Informal Discovery Conference pursuant
            to the terms of this stipulation.

        .2. At the Informal Disdovery Conference the Court will consider the dispute presented by parties
            and, determine whethet it can be resolved informally. Nothing set forth herein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, 'either
            orally or in writing.,

         3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
            presented, a party may request an Informal Discovery Conference pursuant to the following
            procedures:

                      a. The party requesting the Informal Discovery Conference will:

                                   File a Request for Informal Discovery Conference with the clerk's office on the
                                   approved form (copy attached) and deliver a courtesy, conformed copy to the
                                   assigned department;

                         ii.       Include a brief summary of the dispute and specify the relief requested; and

                        iii.       Serve the opposing party pursuant to any authorized or agreed method of service
                                   that ensures that the opposing party receives the Request for Informal Discovery
                                   Conference no later than the next court day following the filing.

                      b. Any Answer to a Request for Informal Discovery Conference must:

                          i.       Also be filed on the approved form (copy attached);

                         ii.       Include a brief summary of why the requested relief should be denied;
        LACIV 036 (new)
        LASC Approved 04111                           STIPULATION — DISCOVERY RESOLUTION
        For Optional Use                                                                                                        Page 1 of 3
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 85 of 94 Page ID #:97




    SHOW 711Le                                                                   CASE NUMBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the flung.

         c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
            be accepted.

         d. If the Court has not granted or denied the Request for Informal Discovery Conference
            within ten (10) days following the filing of the Request, then it shall be deemed to have
            been denied. If the Court acts on the Request, the parties will be notified whether the
            Request for Informal Discovery Conference has been granted or denied and, if granted,
            the date and time of the informal Discovery Conference, which must be within twenty (20)
            days of the filing of the Request for Informal Discovery Conference.

         e. If the conference is not held within twenty (20) days of the filing of the Request for
            Informal Discovery Conference; unless extended by agreement of the parties and the
            Court, then the Request for the Informal Discovery Conference shall be deemed to have
            been denied at that time.

    4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address unresolved issues.

    5.. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date. of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

        It is the understanding and intent of the parties that this stipulation shall, for each discovery
        dispute to which it applies, constitute a writing memorializing a "specific later date to which
        the propounding [or demanding or requesting] party and the responding party have agreed in
        writing," Within the meaning of Code CM! Procedure sections 2030.300(c), 2031.320(c), and
        2033.290(c).

    6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
       an order shortening time for a motion to be heard concerning discovery.

    7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
       terminate the stipulation.

    8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
       any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
       for performing that act shall bp extended to the next Court day.



    LAM 036 (new)
    LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
    For Optional Use                                                                            Page 2 of 3
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 86 of 94 Page ID #:98




    SHORT TITLE:                                                      cAse PNPADER:




    The following parties stipulate:

    Date:

                    (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
    Date:

                    (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
    Date:
                                                       ➢
                    (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
    Date:

                   .(TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
    Date:

                    (TYPE OR PRINT NAME)                    (ATTORNEY FOR
  - Date:
                                                       ➢
                    (TYPE OR PRINT NAME)                   (ATTORNEY FOR
    Date:

                   • (TYPE OR PRINT NAME)                  (ATTORNEY FOR




    LACIV 036 (new)
    LASC Approved 04/11            STIPULATION — DISCOVERY RESOLUTION
    For Optional Use                                                                           Page 3 of 3,
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 87 of 94 Page ID #:99




 NAME AHL) AO CCIE SS OP ATTORNEY OR PARTY WITHOUT ATI OPA EY                  STATE OAR NUMBER                   Werra.' fat MA's Fie SUITS




   •




          TELEPHONE NO.:                                        FAX NO. (Opticrtal):
 E-MAIL ADDRESS (Oplional):                                                        .
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:


 PLAINTIFF:                                              .                                                .


 DEFENDANT:


                                                                                                         CASE NUMBER:
           ,           INFORMAL DISCOVERY CONFERENCE
                 (pursuant to the Discovery Resolution Stipulation of the parties)
        I. This document relates to:
               ❑      Request for Informal Discovery Conference
              ❑       Answer to Request for Informal Discovery Conference
        2. Deadline for Court to decide on Request:                    (insert date 10 calendar, days following fling of
               the Request).
        3. Deadline for Court to hold Informal Discovery Conference:                                                (insert date 20 calendar
               days following filing of the Request).
        4. For a Request I for Informal Discovery Conference, briefly describe the nature of the
           discovery dispute, including the facts and legal arguments at issue. For an Answer to
           Request for Informal Discovery Conference, briefly describe why the Court should deny
           the requested discovery, including the facts and legal arguments at issue.




       LACIV 094 (new)
       LASC Approved 0011
                                                   INFORMAL DISCOVERY CONFERENCE
       For Optional Use                      (pursuant to the Discovery Resolution Stipulation of the parties)
Case 2:18-cv-08818-RGK-JPR Document 1-1 Filed 10/12/18 Page 88 of 94 Page ID #:100




  RASE AND AOOPIESS OF A TM rillE Y OR PAA TVAT MOUT ATIORHEr.                 STATE SAS Nina En            lier.orred for OW, re. Vamp




          I TELEPHONE NO.:                                       FAX NO. (Optional):
  E-MAIL ADDRESS (Opt:anal):
     ATTORNEY FOR (Name).
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF. LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:


  DEFENDANT:

                                                                                                   CASE NUMBER:
                 STIPULATION AND ORDER — MOTIONS IN LIMINE


        This stipulation is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:

         1. At least       days before the final status conference, each party will provide all other
            parties with a list containing a one paragraph explanation of each proposed motion in
            limine. Each one paragraph explanation must identify the substance of a single proposed
            motion in limine and the grounds for the proposed motion.

        2. The parties thereafter will meet and confer, either In person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
           parties will determine:

               a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                  stipulate, they may file a stipulation and proposed order with the Court.

               b. Whether any of the proposed motions can be briefed and submitted by means of a
                  short joint statement of issues. For each motion which can be addressed by a short
                  joint statement of issues, a short joint statement of issues must be filed with the Court
                  10 days prior to the final status conference. Each side's portion of the short joint
                  statement of issues may not exceed three pages. The parties will meet and confer to
                  agree on a date and manner for exchanging the parties' respective portions of the
                  short joint statement of issues and the process for filing the short joint statement of
                  issues.

        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.




      LACIV 075 (new)
    • LASC Approved 04/11                    STIPULATION AND ORDER — MOTIONS. IN LIMINE
      Fol. Optional Use                                                                                                        Page 1 of 2
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     SHORT TULE                                                 CASE ilLIMOgii:




     The following parties stipulate:
     Date:

                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
     Date:

                  (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
     Date:

                  (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
     Date:
                                                   D
                  (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
     Date:

                  (TYPE OR PRINT NAME)                 (ATTORNEY FOR
     Date:

                  (TYPE OR PRINT NAME)                 (ATTORNEY FOR
     Date:

                  (TYPE OR PRINT NAME)                 (ATTORNEY FOR



     THE COURT SO ORDERS.

      Datet
                                                                JUDICIAL OFFICER




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    LASC Approved 04/11    STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2
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                           Superior Court of California
                             County of Los Angeles




               ALTERNATIVE DISPUTE. RESOLUTION (ADR)
                      INFORMATION PACKET


                The person who files a civil lawsuit (plaintiff) must Include the ADR information
                Packet with the complaint when serving the defendant. Cross-complainants must
                serve the ADR Information Packet on any new parties named to the action
                together with the cross-complaint.

                There are a number of ways to resolve civil disputes without having to sue.
                someone. These alternatives to a lawsuit are known as alternative dispute
                resolution (ADR).

                In ADR, trained, impartial persons decide disputes or help parties decide disputes
                themselves. These persons are called neutrals. For example, in mediations, the
                neutrals the mediator. Neutrals normally are chosen by the disputing parties or by
                the court. Neutrals can help resblve disputes without having to go to court.




 LAADR 005 (Rev. 03/17)
 LASC Adopted 10-03
'Cal. Rules of Court, rule 3.221
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 Advantages of ADR
    • Often faster than going to trial
    • Often leSs expensive, saving the litigants court costs, attorney's fees and expert fees.
    • May permit more participation, allowing parties to have more control over the outcome.
    • Allows for flexibility in.choice of ADR procestes and resolution-of the dispute.
    • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to remedy.
    • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
       stress.

 Disadyantages of ADR - ADR may not be suitable-for every dispute.
    • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
       jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
    • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
    • The neutral may charge a fee for his or her services.
    • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.



The Most Common Types of ADR

    •   Mediation

        In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            ■ Mediation is particularly effective when the parties have a continuing relationship, like
              neighbors or business people. Mediation is also very effective where personal feelingsire-: —.' -
              getting in the way of a resolution. This is because mediation normally gives the parties a chance.
              to express their feelings and find out how the other sees things.

            •   Mediation may not be effective when one party is unwilling to cooperate or compromise or
                when one of the parties has a significant advantage in power over the other. Therefore, it may
                not be a good choice if the parties have a history of abuse or victimization.




LAAOR 005 (Rev. 03/17)
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Cal. Rules of Court, rule 3.221

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            *   Arbitration

                In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                binding." Binding•arbitration means the parties waive their rightto a trial and agree to accept
                the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                request a trial if they reject the arbitrator's decision.

                Arbitration is best for cases where the parties want another person to decide the outcome of
                their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                also be appropriate for complex matters where the parties want a decision-maker who has
                training or experience in the subject matter of the dispute.



                ManclatOry Settlement Conference (MSC)

                Settlement Conferences are appropriate In any case where settlement is an option.
                Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                time exclusively to preside over the MSC. The judge does not make a decision in the case but
                assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                settlement.

                The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                charge and staffed by experienced sitting civil judges who devote their time exclusively to
                presiding over MSCs. The judges participating in the judicial MSC program and their locations
                are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                at'ht tp://www.la court.orgi. This program is available in general jurisdiction cases with
                represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                eve of trial by the personal injury master calendar courts in the Stanley Mask Courthouse or the
                asbestos calendar court in CCW.

                In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                the program. Further, all parties must complete the infOrmation requested in the Settlement
                Conference Intake Form and email the completed form to mscdept18@lacourt.org.




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MSC Adopted 10-03
Cal. Rules of Court, rule 3.221

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 Additional Information

 To locate a dispute resolution program or neutral in your community:

     •   Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
         Center toll free at 800:952-5210, or;
     •   Contact the local bar association (http://www.lacba.org/) or;
     •   Look in a telephone directory or search online for "mediators; or "arbitrators."

 There may be a charge for services provided by private arbitrators and mediators.



 A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
 httplicalbar.ca.govjAttornevs/MemberServicesiFeeArbitration/ApprovedProp,rams.aspx#119



 To request information about, or assistance with, dispute resolution, call the number listed beloW. Or you may
 call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is '
 available at the link below.

 http://css.lacounty.gov/programsidispute-resolution-prura m-d



                                   County of Los Angeles Dispute Resolution Program
                                           3175 West 6th Street, Room 406
                                           . Los Angeles, CA 90020-1798
                                                  TEL: (213) 738-2621
                                                  FAX: (213) 386-3995




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                               DEFEIWANTIRESPONDENT: Culver City Motor Care inc., ct nl.

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                                 **Please charge $150.00 for Jury Deposit Fee




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HR: Host receive           PR: Polled remote                                 RP: Report                                        FA: Fall                                              G3: Group 3
                           MS: Mailbox save                                  FF: Fax Forward                                   TU: Terminated by user                                EC: Error Correct
WS: Waiting send
